      Case 1:25-cv-01144-JAV         Document 135        Filed 04/03/25     Page 1 of 27




Office of the New York State                                                      Letitia James
Attorney General                                                               Attorney General


April 3, 2025

By ECF
Honorable Jeannette A. Vargas
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       RE:      New York v. Trump, SDNY No. 25 Civ. 1144 (JAV)(SDA)

Dear Judge Vargas,

        The Office of the Attorney General (“OAG”) represents the State of New York in the
above-captioned case. We write to provide the Court with supplemental authority, specifically to
bring to the Court’s attention recent controlling authority from the Supreme Court bearing on an
argument raised by Plaintiff States in opposition to Defendants’ Motion to Partially Dissolve the
Preliminary Injunction (ECF No. 111) (“Motion to Partially Dissolve”).

        Yesterday the Supreme Court issued its decision in Food and Drug Administration v.
Wages and White Lion Investments, L.L.C., 604 U.S. ___, ___ S.Ct. ___, 2025 WL 978101 (April
2, 2025), which involved a challenge to an FDA order denying premarket tobacco product
applications. The decision discusses at length the standard that applies under the Court’s
“change-in-position doctrine” to agency action under the APA, and therefore bears directly on
the argument raised by Plaintiff States in Point II of their opposition to Defendants’ Motion to
Partially Dissolve (ECF No. 118). Id., 2025 WL 978101 at *13-*14.


                                                            Respectfully submitted,

                                                            /s/ Colleen K. Faherty
                                                            Colleen K. Faherty
                                                            Special Trial Counsel
                                                            (212) 416-6046




         The Capitol, Albany NY 12224 | 1-800-771-7755 | Fax 518-650-9401 | ag.ny.gov
                 Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                   Document 135          Filed 04/03/25         Page 2 of 27
--- S.Ct. ----



                       --- S.Ct. ----
                                                                 Vacated and remanded.
       Only the Westlaw citation is currently available.
             Supreme Court of the United States.
                                                                 Justice Sotomayor filed concurring opinion.
    FOOD AND DRUG ADMINISTRATION, Petitioner
                                                                 Procedural Posture(s): Petition for Writ of Certiorari;
                          v.
                                                                 Review of Administrative Decision.
      WAGES AND WHITE LION INVESTMENTS,
         L.L.C., dba Triton Distribution, et al.
                                                                  West Headnotes (20)
                           No. 23-1038
                                |
                     Argued December 2, 2024                      [1]    Federal Courts     Presentation of Questions
                                |                                        Below or on Review; Record; Waiver
                      Decided April 2, 2025                              Supreme Court would not reach question
                                                                         of whether either Administrative Procedure
Synopsis                                                                 Act (APA) or Family Smoking Prevention
Background: Manufacturers of flavored liquids for open-                  and Tobacco Control Act required Food and
system e-cigarette products petitioned for review of Food and            Drug Administration (FDA) to use notice-and-
Drug Administration's (FDA) orders denying manufacturers'                comment rulemaking to set out requirements
premarket tobacco product applications (PMTAs). The                      that must be met in a premarket tobacco
United States Court of Appeals for the Fifth Circuit, en banc,           product application (PMTA), on certiorari
Oldham, Circuit Judge, 90 F.4th 357, granted petitions, set              review of Court of Appeals' decision setting
aside orders, and remanded to FDA. FDA filed petition for                aside FDA orders denying PMTAs submitted
writ of certiorari, which was granted.                                   by manufacturers of flavored liquids for open-
                                                                         system e-cigarette products, where certiorari
                                                                         review was granted to address question of
Holdings: In a unanimous opinion, the Supreme Court,                     whether FDA acted arbitrarily and capriciously
Justice Alito, held that:                                                in denying manufacturers' PMTAs, and notice-
                                                                         and-comment rulemaking issue was not
[1] change-in-position doctrine under Administrative                     adequately briefed. 5 U.S.C.A. § 551 et seq.;
Procedure Act (APA), rather than due process, provided                   Federal Food, Drug, and Cosmetic Act § 900, 21
governing framework for determining whether FDA acted                    U.S.C.A. § 387 et seq.
arbitrarily and capriciously in denying PMTAs;
                                                                         More cases on this issue

[2] FDA did not violate change-in-position doctrine with
respect to type of scientific evidence needed to show that        [2]    Administrative Law and
manufacturers' products were appropriate for protection of               Procedure     Rulemaking, adjudication, or
public health;                                                           other mechanism
                                                                         Unless Congress has specified otherwise,
[3] FDA did not violate change-in-position doctrine by                   agencies are generally free to develop regulatory
requiring manufacturers to use cross-flavor comparisons to               standards either by general legislative rule or by
show their products were appropriate for protection of public            individual order in an adjudication.
health; and

[4] FDA did not violate change-in-position doctrine with          [3]    Administrative Law and
respect to its enforcement priorities concerning device type             Procedure     Procedure for Adoption
when denying PMTAs.




                   © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                        1
                 Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135    Filed 04/03/25         Page 3 of 27
--- S.Ct. ----

          If a statute requires rulemaking to develop               Administrative Law and
          regulatory standards, the affected agency must            Procedure     Wisdom, judgment, or opinion
          comply.                                                   in general
                                                                    The scope of arbitrary-and-capricious review
                                                                    under the Administrative Procedure Act (APA)
 [4]      Federal Courts     Presentation of Questions              is narrow, and reviewing courts must exercise
          Below or on Review; Record; Waiver                        appropriate deference to agency decisionmaking
          Supreme Court would decline to reach arguments            and not substitute their own judgment for that of
          offered in amici curiae briefs that Family                the agency. 5 U.S.C.A. § 706(2)(A).
          Smoking Prevention and Tobacco Control Act
                                                                    More cases on this issue
          unconstitutionally delegated lawmaking power
          to Food and Drug Administration (FDA) with
          respect to necessary contents of premarket          [7]   Federal Courts        Scope and Extent of
          tobacco product applications (PMTAs), relevant            Review
          provisions of Act were unconstitutionally vague,          Change-in-position         doctrine       under
          and manufacturers of flavored liquids for open-           Administrative Procedure Act (APA), rather than
          system e-cigarette products whose PMTAs                   due process, provided governing framework for
          were denied were denied due process, on                   determining on certiorari review whether Food
          certiorari review of Court of Appeals' decision           and Drug Administration (FDA) acted arbitrarily
          setting aside FDA orders denying manufacturers'           and capriciously in denying premarket tobacco
          PMTAs, where arguments fell outside scope of              product applications (PMTAs) submitted by
          question for which certiorari review was granted,         manufacturers of flavored liquids for open-
          were not passed on below, and were not pressed            system e-cigarette products; manufacturers were
          in manufacturers' briefs. U.S. Const. Amend. 5;           not suggesting that suggest that FDA had
          Federal Food, Drug, and Cosmetic Act § 900, 21            affirmative obligation under Family Smoking
          U.S.C.A. § 387 et seq.                                    Prevention and Tobacco Control Act to issue
                                                                    specific guidance as to how it would evaluate
          More cases on this issue
                                                                    flavored products, but rather, their arguments
                                                                    rested primarily on FDA's supposed change in
 [5]      Administrative Law and                                    position regarding PMTA requirements. U.S.
          Procedure       Review for arbitrary,                     Const. Amend. 5; 5 U.S.C.A. § 706(2)(A);
          capricious, unreasonable, or illegal actions in           Federal Food, Drug, and Cosmetic Act § 900, 21
          general                                                   U.S.C.A. § 387 et seq.
          The arbitrary-and-capricious standard of review
          under the Administrative Procedure Act (APA)
          ensures that an administrative agency examined      [8]   Administrative Law and
          the relevant data and articulated a satisfactory          Procedure     Change of policy; reason or
          explanation for its action including a rational           explanation
          connection between the facts found and the                Under the change-in-position doctrine, agencies
          choice made. 5 U.S.C.A. § 706(2)(A).                      are free to change their existing policies as long
                                                                    as they provide a reasoned explanation for the
          More cases on this issue
                                                                    change, display awareness that they are changing
                                                                    position, and consider serious reliance interests.
 [6]      Administrative Law and
          Procedure       Review for arbitrary,
          capricious, unreasonable, or illegal actions in     [9]   Federal Courts     Presentation of Questions
          general                                                   Below or on Review; Record; Waiver




                   © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                   2
                 Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135      Filed 04/03/25        Page 4 of 27
--- S.Ct. ----

          Supreme Court would decline to reach argument               to type of scientific evidence needed to show
          by manufacturers of flavored liquids for open-              that manufacturers' flavored liquids for open-
          system e-cigarette products that Food and                   system e-cigarette products were appropriate for
          Drug Administration (FDA) violated their due                protection of public health, as requirement for
          process rights because it failed to provide clear           approval of manufacturers' premarket tobacco
          notice before denying manufacturers' premarket              product applications (PMTAs); both Family
          tobacco product applications (PMTAs) and                    Smoking Prevention and Tobacco Control
          effectively putting them out of business, on                Act and FDA's guidance left agency broad
          certiorari review of Court of Appeals' decision             discretion to decide what sort of scientific
          setting aside FDA orders denying manufacturers'             evidence was required, guidance discussed
          PMTAs, where argument was outside scope of                  strength of various types of evidence, but
          question for which certiorari review was granted,           never committed to minimum evidence FDA
          and was not well developed in manufacturers'                would require, FDA's scientific-review form
          brief. U.S. Const. Amend. 5.                                and internal memorandum did not require
                                                                      evidence from either randomized control trial or
          More cases on this issue                                    longitudinal cohort study, and FDA's explanation
                                                                      in denial orders for why “other evidence” test
 [10]     Administrative Law and                                      was not met echoed statements made at various
          Procedure     Change of policy; reason or                   points in its earlier guidance. Federal Food,
          explanation                                                 Drug, and Cosmetic Act § 910, 21 U.S.C.A. §
                                                                      387j(c)(2)(A), 387j(c)(5)(A), 387j(c)(5)(B).
          Under the change-in-position doctrine, a court
          first asks whether an agency changed existing
          policy, and if yes, it next asks whether the
          agency displayed awareness that it was changing      [13]   Administrative Law and
          position and offered good reasons for the new               Procedure     Procedural matters in general
          policy.                                                     In an administrative review case, agencies are
                                                                      entitled to a presumption of regularity.


 [11]     Administrative Law and
          Procedure     Change of policy; reason or            [14]   Antitrust and Trade
          explanation                                                 Regulation     Decisions, determinations, and
          Under the change-in-position doctrine, once a               orders
          change in agency position has been identified,              Food and Drug Administration (FDA) did
          the agency does not need to show that the                   not violate change-in-position doctrine by
          reasons for the new policy are better than the              requiring manufacturers of flavored liquids
          reasons for the old one or provide a more                   for open-system e-cigarette products to
          detailed justification than what would suffice for          use cross-flavor comparisons to show their
          a new policy created on a blank slate; instead,             products were appropriate for protection of
          the agency must be cognizant that longstanding              public health, as requirement for approval
          policies may have engendered serious reliance               of manufacturers' premarket tobacco product
          interests that must be taken into account.                  applications (PMTAs); requiring manufacturers
                                                                      to show that fruit, candy, and dessert flavored
                                                                      e-cigarettes promoted more switching than
 [12]     Antitrust and Trade                                         unflavored or tobacco-flavored e-cigarettes did
          Regulation     Decisions, determinations, and               not contradict FDA's predecisional guidance, but
          orders                                                      was natural consequence of guidance, which
                                                                      highlighted FDA's heightened concern that youth
          Food and Drug Administration (FDA) did not
                                                                      were drawn to dessert, candy, and fruit flavored
          violate change-in-position doctrine with respect



                   © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                   3
                 Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135      Filed 04/03/25          Page 5 of 27
--- S.Ct. ----

          e-cigarettes, and Family Smoking Prevention                 Administrative Law and
          and Tobacco Control Act did not impose                      Procedure     Particular Errors and Defects
          affirmative obligation on FDA to spell out in               Warranting Remand
          detail how it expected applicants to compare a              Administrative Law and
          new tobacco product to other tobacco products.              Procedure       Making or supplementing
          Federal Food, Drug, and Cosmetic Act § 910, 21              reasons for decision
          U.S.C.A. § 387j(b)(1)(A), 387j(c)(2)(A), 387j(c)
                                                                      Administrative Law and
          (4).
                                                                      Procedure     Particular proceedings
                                                                      Under the remand rule, the better course when
                                                                      an agency error is identified is for the reviewing
 [15]     Antitrust and Trade
                                                                      court, except in rare circumstances, to remand
          Regulation     Decisions, determinations, and
                                                                      to the agency for additional investigation or
          orders
                                                                      explanation, rather than affirm the agency action
          Food and Drug Administration (FDA) did                      on an alternative ground raised for the first time
          not violate change-in-position doctrine with                in litigation.
          respect to its enforcement priorities concerning
          device type when denying premarket tobacco                  More cases on this issue
          product applications (PMTAs) submitted by
          manufacturers of flavored liquids for open-
                                                               [18]   Administrative Law and
          system e-cigarette products, even though FDA's
                                                                      Procedure       Relation between error and
          central concern in predecisional guidance was
                                                                      final outcome or result
          flavored, cartridge-based products; guidance
          listed two additional enforcement priorities,               Administrative Law and
          which were not limited to flavored cartridge-               Procedure     Remand
          based products, but focused on access by minors             Under the Administrative Procedure Act (APA),
          and products targeted to minors, and even if FDA            reviewing courts should adapt the harmless error
          did change its position, it offered good reasons            rule applicable in ordinary civil litigation to the
          for looking beyond cartridge-based products,                administrative-law context, which includes the
          namely, inference from data that youth would                remand rule, by which reviewing courts should
          migrate to another type of flavored product if one          remand to the agency for additional investigation
          type were removed from market. Federal Food,                or explanation when an agency error is identified,
          Drug, and Cosmetic Act § 910, 21 U.S.C.A. §                 except in rare circumstances. 5 U.S.C.A. § 706.
          387j(c)(2)(A).
                                                                      More cases on this issue


 [16]     Administrative Law and                               [19]   Administrative Law and
          Procedure     Change of policy; reason or                   Procedure     Remand
          explanation                                                 A remand to the agency may not be necessary
          A belief about how an agency is likely to                   when the agency's decision is supported by a
          exercise its enforcement discretion is not a                plethora of factual findings, only one of which
          serious reliance interest that must be considered           is unsound; when it is clear that the agency's
          by an agency when changing existing policies.               error had no bearing on the procedure used or
                                                                      the substance of the decision reached, a remand
                                                                      would be pointless.
 [17]     Administrative Law and
                                                                      More cases on this issue
          Procedure        Correct decision based on
          incorrect or insufficient theory or grounds




                   © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                      4
                 Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135         Filed 04/03/25          Page 6 of 27
--- S.Ct. ----

                                                                 jurisdiction to regulate tobacco products. Although the
 [20]     Federal Courts     Presentation of Questions           Act barred the FDA from banning all regulated tobacco
          Below or on Review; Record; Waiver                     products outright, see 21 U.S.C. § 387g(d)(3), it prohibited
          Food and Drug Administration (FDA)                     a manufacturer from marketing any “new tobacco product”
          abandoned any argument, on certiorari review           without FDA authorization, see § 387j(a)(2)(A). One pathway
          of Court of Appeals' decision setting aside            to authorization of a “new tobacco product” is the submission
          Food and Drug Administration (FDA) orders              of a premarket tobacco product application. See § 387j(c)
          denying premarket tobacco product applications         (1)(A)(i). The TCA requires the FDA to deny such an
          (PMTAs) submitted by manufacturers of                  application unless an applicant shows that its product “would
          flavored liquids for open-system e-cigarette           be appropriate for the protection of the public health.” §
          products, that would require Supreme Court             387j(c)(2)(A). To determine this, the FDA must consider,
          to decide how to harmonize remand rule                 among other things, “the risks and benefits to the population
          and harmless-error rule, even though FDA               as a whole” and “tak[e] into account” the likelihood that users
          requested in its petition for certiorari that          of existing tobacco products will stop using those products
          Supreme Court review and reverse Court of              and that non-users will start using them. § 387j(c)(4).
          Appeals' holding that FDA's error in failing
          to consider manufacturers' marketing plans             In 2016, in response to the surging youth demand for flavored
          was not harmless, where FDA asked in                   products, the FDA deemed e-cigarettes “tobacco products.”
          opening brief only that Supreme Court identify         Given that most e-cigarette products were not marketed in
          correct harmless-error rule and remand case,           the United States before February 15, 2007, the vast majority
          allowing Court of Appeals to determine whether         of these products qualified as “new tobacco product” under
          manufacturers met their burden of showing              the TCA. Most manufacturers of e-cigarette products would
          prejudice, and FDA reiterated that position in its     thus need to comply with the TCA's premarket-authorization
          reply. 5 U.S.C.A. § 706; Federal Food, Drug, and       regime to sell their products. This made the continued sale of
          Cosmetic Act § 900, 21 U.S.C.A. § 387 et seq.          most e-cigarette products illegal absent authorization. So to
                                                                 give these manufacturers adequate time to submit premarket
          More cases on this issue                               tobacco product applications, the FDA delayed enforcement
                                                                 for two to three years. See 81 Fed. Reg. 28977–28978. This
                                                                 permitted e-cigarette products to remain on the market while
                                                                 manufacturers filed their applications. A Federal District
                                                                 Court ultimately imposed a deadline of September 9, 2020,
                           Syllabus *                            for applications.

 *1 This case concerns whether the Food and
                                                                 In the lead up to the application deadline, the FDA
Drug Administration (FDA) lawfully denied respondents
                                                                 issued numerous forms of guidance concerning premarket
authorization to market certain electronic nicotine delivery
                                                                 tobacco product applications that orbited around four central
system products—known as electronic cigarettes, e-
                                                                 themes: (1) the types of scientific evidence that would be
cigarettes, or vapes. These products have rapidly gained
                                                                 required; (2) the importance of cross-product comparisons
popularity during the past 20 years, offering existing smokers
                                                                 and investigations; (3) the FDA's enforcement priorities with
a potentially safer alternative to traditional combustible
                                                                 respect to device type; and (4) manufacturers’ marketing
cigarettes. But e-cigarettes carry their own health risks,
                                                                 plans, which were described as “specific restrictions on sale
and the panoply of available flavors—which include not
                                                                 and distribution” meant to deter new smokers from taking up
only traditional cigarette flavors (like tobacco and menthol)
                                                                 e-cigarette products. In 2019, the FDA proposed a rule related
but also fruit, candy, and dessert flavors—appeals to non-
                                                                 to the submission of premarket tobacco product applications,
smokers, particularly younger Americans.
                                                                 and the proposed rule distilled the four topics discussed in
                                                                 the predecisional guidance. See 84 Fed. Reg. 50566, 50580,
The FDA has long had the responsibility to determine
                                                                 50581, 50585, 50603.
whether manufacturers may market new drugs, but it was
the passage of the Family Smoking Prevention and Tobacco
Control Act of 2009 (TCA) that first gave the FDA broad


                   © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                       5
                 Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135           Filed 04/03/25          Page 7 of 27
--- S.Ct. ----

 *2 Respondents submitted applications seeking approval            comparative efficacy, and device type—and thus did not run
to market and sell flavored e-liquids for open-system              afoul of the change-in-position doctrine. Pp. 20–41.
e-cigarettes. The FDA denied respondents’ applications,
concluding they had not provided sufficient scientific             (a) The Court analyzes the Fifth Circuit's conclusion that the
evidence to demonstrate that the marketing of their products       FDA acted arbitrarily and capriciously under the change-in-
would be appropriate for the protection of public health.          position doctrine, which provides that “[a]gencies are free
Specifically, the FDA held respondents had not provided            to change their existing policies as long as they provide a
evidence from a randomized controlled trial, longitudinal          reasoned explanation for the change,” “ ‘display awareness
cohort study, or other “robust and reliable” evidence that their   that [they are] changing position,’ ” and consider “ ‘serious
dessert-, candy-, and fruit-flavored products had benefits over    reliance interests.’ ” Encino Motorcars, LLC v. Navarro, 579
tobacco-flavored products. Despite previously describing           U. S. 211, 221–222 (quoting FCC v. Fox Television Stations,
marketing plans as “critical,” the FDA decided “for the            Inc., 556 U. S. 502, 515). This doctrine asks two questions:
sake of efficiency” not to evaluate respondents’ marketing         first, whether an agency changed existing policy, and second,
plans. To each denial order, the FDA appended a “Technical         whether the agency displayed awareness of the change and
Project Lead (TPL) Review.” See App. to Pet. for Cert. 177a,       offered good reasons for the new policy. Pp. 20–25.
285a. These lengthy documents, which canvass the scientific
literature on youth e-cigarette use, reflect the FDA's evolving    (b) The FDA's denial orders were sufficiently consistent with
understanding of how flavor, regardless of e-cigarette device      its predecisional guidance regarding scientific evidence. The
type, drives youth smoking initiation and nicotine addiction.      TCA states that either “well-controlled investigations” or
                                                                   other “valid scientific evidence” if found “sufficient” may
Respondents petitioned for judicial review of the FDA's            support a finding that a new tobacco product is “appropriate
denial orders under the Administrative Procedure Act (APA).        for the protection of the public health.” § 387j(c)(5)(A)–
See § 387l(b) (citing 5 U.S.C. § 706(2)(A)). The Fifth Circuit,    (B). The TCA thus left the FDA broad discretion to decide
sitting en banc, granted respondents’ petitions for review         what sort of scientific evidence an applicant was required to
and remanded to the FDA. The en banc majority held that            submit. Across its various guidance documents, the FDA's
the FDA had acted arbitrarily and capriciously by applying         main point was that manufacturers who failed to submit
application standards different from those articulated in          evidence based on “well-controlled investigations” would
its predecisional guidance documents regarding scientific          need to provide rigorous scientific evidence that the sale
evidence, cross-flavor comparisons, and device type. The           of their particular products would be appropriate for the
court expressed particular concern about the FDA's failure to      protection of the public health. The applicants did not submit
review marketing plans it previously deemed critical. It also      randomized controlled trials or longitudinal cohort studies, so
rejected the FDA's argument that any errors were harmless.         the fate of their applications turned on whether they submitted
                                                                   “other evidence” that met the FDA's standard of scientific
Held:                                                              rigor and relevance to their product. The FDA rejected
                                                                   respondents’ applications because that test was not met. As
1. As a preliminary matter, the Court declines to reach            evidence of a change in position, respondents point to the
and thus expresses no view on respondents’ argument                FDA's July 9, 2021, internal memorandum, which stated that
that the FDA erred in evaluating respondents’ applications         the failure to submit evidence from a randomized controlled
under standards developed in adjudication rather than              trial or longitudinal cohort study would constitute a “fatal
standards promulgated in notice-and-comment rulemaking.            flaw” that would “likely” result in denial of an application.
This complicated question sweeps beyond the question               But the FDA issued a superseding memorandum, which
presented and lacks adequate briefing. P. 19.                      recognized that “other evidence” may demonstrate a product
                                                                   is “appropriate for the protection of the public health,”
2. The Fifth Circuit's conclusion that the FDA acted arbitrarily   and the FDA represents that it did not rely on the July 9,
and capriciously in its adjudication of manufacturers’             2021, internal memorandum when adjudicating applications
premarket tobacco product applications is vacated because          —a representation afforded a presumption of regularity. Pp.
the FDA's denial orders were sufficiently consistent               25–32.
with its predecisional guidance—as to scientific evidence,




                   © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                         6
                 Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135           Filed 04/03/25           Page 8 of 27
--- S.Ct. ----

 *3 (c) The FDA's comparative-efficacy requirement was             required to take the same action no matter what. In all other
not inconsistent with its predecisional guidance. The TCA          cases, an agency cannot avoid remand.” 90 F. 4th 357, 390.
expressly contemplates comparisons of different tobacco
products, and the FDA's guidance elaborated on the types of        The Court agrees with the FDA that the Fifth Circuit read
comparisons that would be helpful. The FDA's 2019 guidance         Calcutt too broadly. That said, the proper standard presents
recommended that a manufacturer “compare the health risks          a difficult problem, requiring reconciliation of the so-called
of its product to both products within the same category and       remand rule developed in SEC v. Chenery Corp., 318 U.
subcategory, as well as products in different categories as        S. 80, 88, 93–95, with the APA's instruction that reviewing
appropriate,” and its 2020 enforcement guidance telegraphed        courts must take “ ‘due account’ ” of “ ‘the rule of prejudicial
the FDA's view that dessert-, candy-, and fruit-flavored           error’ ” that “ordinarily appl[ies] in civil cases,” Shinseki
products were more likely than tobacco- and menthol-               v. Sanders, 556 U. S. 396, 406 (quoting 5 U.S.C. § 706).
flavored products to appeal to the young. Thus, when the FDA       The most natural interpretation of the APA's language is
denied respondents’ applications for failing to demonstrate        that reviewing courts should adapt the “rule of prejudicial
the benefit of their flavored products over tobacco-flavored       error” applicable in ordinary civil litigation (also known as the
products, it was following a natural consequence of its            harmless-error rule) to the administrative-law context, which,
predecisional guidance. Pp. 32–37.                                 of course, includes the remand rule. In Calcutt, after reciting
                                                                   the remand rule in strong terms, the Court acknowledged
(d) The FDA's treatment of device type did not violate             that a “remand may be unwarranted ... [w]here the agency
the change-in-position doctrine. The FDA's 2020 guidance           ‘was required’ to take a particular action.” 598 U. S., at
did not establish a “safe harbor” for non-cartridge-based          630 (quoting Morgan Stanley Capital Group Inc. v. Public
products. Although the 2020 guidance emphasized the                Util. Dist. No. 1 of Snohomish Cty., 554 U. S. 527, 544).
FDA would prioritize enforcement against cartridge-based           Although the Fifth Circuit interpreted Calcutt’s discussion to
products, it stated the FDA would also prioritize enforcement      mean that there is only one exception to the remand rule, it
against manufacturers “whose [products’] marketing is likely       has long been accepted that a remand may not be necessary
to promote use by ... minors.” That latter category seemingly      when an agency's decision is supported by a plethora of
covers respondents’ products. Even if the FDA had changed          factual findings, only one of which is unsound, because a
its position in this respect, it offered “good reasons,” namely,   remand would be pointless. See, e.g., Massachusetts Trustees
evidence showing that youth demand had moved from                  of Eastern Gas & Fuel Associates v. United States, 377 U. S.
flavored cartridge-based products to flavored disposable           235, 248. The existence of this exception is sufficient to show
products. Fox Television, 556 U. S., at 515. From that             that the Fifth Circuit's reading of Calcutt went too far. That
evidence, the FDA drew the reasonable inference that youth         said, the FDA's reading of Sanders may also be excessive.
were most strongly drawn by flavor rather than device type.        The FDA has not asked the Court to decide the harmless-error
Pp. 37–41.                                                         question at this juncture, and the Court vacates and remands
                                                                   so the Fifth Circuit can decide the question afresh without
3. The Fifth Circuit relied on an overly broad reading of          relying on its overly expansive reading of Calcutt. Pp. 41–46.
Calcutt v. FDIC, 598 U. S. 623 (per curiam), to reject the
FDA's claim of harmless error regarding the agency's change        *4 90 F. 4th 357, vacated and remanded.
of position on marketing plans.
                                                                   ALITO, J., delivered the opinion for a unanimous Court.
The FDA does not contest that despite assuring manufacturers       SOTOMAYOR, J., filed a concurring opinion.
that marketing plans would be “critical” to their applications,
the FDA ultimately did not consider respondents’ marketing
plans. The FDA argued below that any error in this respect         Attorneys and Law Firms
was harmless error because it issued denial orders to other
                                                                   Curtis E. Gannon, Deputy Solicitor General, for Petitioner.
manufacturers after reviewing marketing plans that were
materially indistinguishable from respondents’. The Fifth          Eric N. Heyer, Washington, DC, for Respondents.
Circuit rejected the FDA's harmless-error argument, relying
on this Court's decision in Calcutt for the proposition that       Samuel R. Bagenstos, General Counsel Department of Health
“APA errors are only harmless where the agency would be            and Human Services, Washington, DC, Mark Raza, Chief



                   © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           7
                 Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135           Filed 04/03/25             Page 9 of 27
--- S.Ct. ----

Counsel, Wendy S. Vicente, Deputy Chief Counsel for                authorization that is required for other “tobacco products.”
Litigation, William H. Rawson, Associate Chief Counsel             The FDA's regulatory efforts culminated in the 2021 denial of
Food and Drug Administration, Silver Spring, MD, Elizabeth         over a million applications for flavored e-cigarette products.
B. Prelogar, Solicitor General Counsel of Record, Brian            The dispute before us arises from that mass denial.
M. Boynton, Principal Deputy Assistant Attorney General,
Curtis E. Gannon, Deputy Solicitor General, Vivek Suri,
Assistant to the Solicitor General, Lindsey Powell, Joshua M.
                                                                                                  A
Koppel, Catherine Padhi, Attorneys, Department of Justice,
Washington, DC, for Petitioner.                                    The Pure Food and Drug Act of 1906 was Congress's first
                                                                   foray into the comprehensive regulation of food and drugs.
Eric N. Heyer, Counsel for Record, Joseph A. Smith,
                                                                   The Act prohibited the interstate transportation of “any article
James C. Fraser, Thompson Hine LLP, Washington, DC, for
                                                                   of food or drugs which is adulterated or misbranded.” Ch.
Respondents.
                                                                   3915, § 2, 34 Stat. 768. That Act also vested important
Opinion                                                            responsibility in the precursor to the FDA, the Bureau of
                                                                   Chemistry in the U. S. Department of Agriculture. § 4,
Justice ALITO delivered the opinion of the Court.                  id., at 769. But early in its tenure, the Bureau disclaimed
                                                                   any authority to regulate tobacco products “labeled in
This case concerns the efforts of the Food and Drug                such a manner as to indicate their use for” nonmedicinal
Administration (FDA) to regulate the sale of “e-cigarettes,”       purposes like “smoking or chewing or as snuff.” Dept. of
a product that rapidly gained popularity during the past           Agriculture, Bureau of Chemistry, 13 Service and Regulatory
20 years. The governing federal law, the Family Smoking            Announcements 24 (Apr. 1914) (Feb. 1914 Announcements
Prevention and Tobacco Control Act of 2009 (TCA),                  ¶13, Opinion of Chief of Bureau C. Alsberg). Congress later
restricts the sale of all “tobacco products” that were not         renamed the Bureau of Chemistry, first as the Food, Drug and
commercially marketed in the United States before February         Insecticide Administration and then as the FDA, the name
15, 2007. Unless otherwise authorized, a manufacturer may          by which we know it today. A Historical Guide to the U. S.
not introduce such a product to the market until the FDA           Government 249 (G. Kurian ed. 1998).
determines that it is “appropriate for the protection of the
public health.” 21 U.S.C. § 387j(c)(2)(A). In this case, we         *5 In 1938, Congress enacted the Federal Food, Drug,
consider whether the FDA lawfully denied authorization to          and Cosmetic Act (FDCA), which vastly expanded the
market certain flavored e-cigarette products.                      FDA's regulatory authority over “drugs and devices.” 52
                                                                   Stat. 1049. One of the FDCA's major innovations was the
                                                                   establishment of a system for premarket authorization under
                               I                                   which manufacturers are prohibited from marketing “any new
                                                                   drug” in interstate commerce without the FDA's approval.
One of the FDA's longstanding responsibilities, dating back        §§ 505(a)–(b), (d), id., at 1052; Historical Guide, at 251. To
nearly a century, is to determine whether manufacturers            receive such authorization, manufacturers must prove to the
may market new drugs. For much of that history, the FDA            FDA that their new products are safe for use. And if the FDA
lacked jurisdiction to regulate tobacco products. By the time      has “insufficient information” to make that determination,
Congress conferred that authority in 2009, a new product           it must “issue an order refusing” marketing authorization. §
was ascendant on the market: the e-cigarette. This product         505(d), 52 Stat. 1052.
offers existing smokers a potentially safer alternative to
traditional combustible cigarettes. But e-cigarettes carry their   By the middle of the 20th century, nearly one in two
own health risks, and they come in a dizzying array of             Americans regularly smoked. See R. Rabin, A Sociolegal
flavors, many of which, such as dessert, candy, and fruit          History of the Tobacco Tort Litigation, 44 Stan. L. Rev. 853,
flavors, are particularly appealing to the young. The surging      855 (1992). Toward the latter half of the century, however,
youth demand for flavored products—and the prospect of             the public became increasingly aware of the “great” “potential
a new generation of smokers—caught the FDA on its back             hazard” of tobacco, Dept. of Health, Education, and Welfare,
foot. In 2016, the agency declared that manufacturers of e-        Surgeon General's Advisory Committee, Smoking and Health
cigarette products would need to obtain the same marketing         25 (1964), and the addictive properties of nicotine, see L.



                   © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          8
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                   Document 135            Filed 04/03/25          Page 10 of 27
--- S.Ct. ----

Goitein, G. Chernack, G. Liu, & M. Davis, Developments in          U.S.C. § 387a(b). It also granted authority to regulate “any
Policy: The FDA's Tobacco Regulations, 15 Yale L. & Pol'y          other tobacco products” that the FDA “by regulation deems”
Rev. 399, 402 (1996).                                              to meet the definition of a tobacco product. Ibid.

The FDCA was enacted long before public awareness of                *6 The TCA's reach was broad. While the Act barred the
the dangers of smoking became widespread, and neither its          FDA from banning all regulated tobacco products outright
text nor its legislative history provided any indication that      or requiring manufacturers to reduce nicotine yields to zero,
tobacco products fell within the FDA's jurisdiction. See A.        see § 387g(d)(3), it prohibited a manufacturer from marketing
Boeckman, An Exercise in Administrative Creativity: The            any “new tobacco product” without FDA authorization, see §
FDA's Assertion of Jurisdiction Over Tobacco, 45 Cath. U. L.       387j(a)(2)(A). A “new tobacco product” is one that was not
Rev. 991, 1015 (1996). Thus, during the first 60 years after       marketed in the United States before February 15, 2007, and
the FDCA's enactment, the FDA (like the Chemistry Bureau)          the TCA subjected such products to a premarket authorization
repeatedly stated that it “lacked authority under the FDCA to      process. See §§ 387j(a)(1)(A), (a)(2).
regulate tobacco absent claims of therapeutic benefit by the
manufacturer.” FDA v. Brown & Williamson Tobacco Corp.,            One pathway to authorization of the sale of a new
529 U. S. 120, 144 (2000); see R. Kluger, Ashes to Ashes:          tobacco product is the submission of a premarket tobacco
America's Hundred-Year Cigarette War, the Public Health,           product application. 1 § 387j(c)(1)(A)(i). These applications
and the Unabashed Triumph of Philip Morris 757–759 (1997)          require, among other things, information about a product's
(Kluger).                                                          components and additives, the method by which it is
                                                                   manufactured, any proposed labeling, and an assessment of
Tobacco regulation was largely left to Congress, which             its health risks. See § 387j(b)(1). There are many reasons why
enacted various statutes between 1965 and the turn of the          the FDA may deny marketing authorization to a “new tobacco
century to address the harms of tobacco use, including             product,” but of main importance here, the agency must deny
the imposition of warning requirements (15 U.S.C. §§               an application unless it is shown that the product “would be
1331, 1333, 4402(a)(1) (2000 ed.)); restrictions on the            appropriate for the protection of the public health.” § 387j(c)
advertisement of certain tobacco products (15 U.S.C. §§            (2)(A).
1335, 4402(a)(2), (f) (2000 ed.)); requirements that the
Secretary of Health and Human Services report on scientific        To determine whether a product meets this standard, the
findings about, among other things, “the addictive property        FDA must consider “the risks and benefits to the population
of tobacco” (42 U.S.C. § 290aa–2(b)(2) (1994 ed.)); and age        as a whole” and “tak[e] into account” the “increased or
restrictions on the sale or distribution of tobacco products (42   decreased likelihood” of two outcomes: first, that the new
U.S.C. § 300x–26(a)(1) (2000 ed.)). See Brown & Williamson         product will induce users of existing tobacco products such
Tobacco Corp., 529 U. S., at 137–139, 143–144. At no point         as conventional cigarettes to stop using those products and,
during that period did Congress grant the FDA jurisdiction to      second, that “those who do not use tobacco products will
regulate tobacco or tobacco products under the FDCA. And           start using” them. § 387j(c)(4). The FDA's determination
when the FDA tried via regulation to assert such jurisdiction      regarding the likely effects of a new product must, “when
in 1996, see 61 Fed. Reg. 44619–45318 (1996), this Court           appropriate,” be based on “well-controlled investigations” or
rejected that effort as beyond the FDA's statutory authority,      other “valid scientific evidence” that is “sufficient to evaluate
see Brown & Williamson Tobacco Corp., 529 U. S., at 126.           the tobacco product.” § 387j(c)(5).

Against that backdrop, Congress enacted the Family Smoking         The FDA must act “[a]s promptly as possible” on a premarket
Prevention and Tobacco Control Act of 2009, 123 Stat. 1776.        tobacco product application and “in no event later than 180
The TCA vests the Secretary of Health and Human Services,          days after the receipt of an application.” § 387j(c)(1)(A). If
acting through the FDA, with the authority that this Court         the FDA denies an application for premarket authorization,
previously found lacking: namely, the power to regulate the        “any person adversely affected” by the denial has 30 days
manufacturing, marketing, sale, and distribution of tobacco        to seek judicial review in a court of appeals. § 387l(a)(1).
products. See § 901, id., at 1786. The TCA explicitly granted      The reviewing courts must in turn apply the provisions of
the FDA regulatory authority over “cigarettes, cigarette           the Administrative Procedure Act (APA). § 387l(b) (citing 5
tobacco, roll-your-own tobacco, and smokeless tobacco.” 21         U.S.C. § 706(2)(A)).



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                             9
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135           Filed 04/03/25           Page 11 of 27
--- S.Ct. ----

                                                                    or pod that contains e-liquid. By contrast, an open-system e-
                                                                    cigarette contains a “tank” that users can manually refill with
                                                                    the desired amount of e-liquid. Users of open-system products
                               B
                                                                    may mix their own e-liquids and adjust the amount of e-liquid
At the end of the 20th century, tobacco manufacturers tried         in the tank.
without much luck to market safer alternatives to traditional
cigarettes, such as “smokeless” cigarettes. See Kluger 599–         There is fierce public debate about the potential benefits and
604; Dept. of Health & Human Servs., E-Cigarette Use                harms of e-cigarettes. On one hand, many view e-cigarettes as
Among Youth and Young Adults: A Report of the Surgeon               a harm-reduction tool. They enable current smokers who are
General 9 (2016) (2016 Surgeon General's Report). But in            addicted to nicotine to reduce exposure to some of the more
2007 a new product hit the American market: electronic              harmful byproducts of traditional combustible cigarettes. See
nicotine delivery systems, which are popularly known as             id., at 10–11; National Academies of Sciences, Engineering,
electronic cigarettes, e-cigarettes, or vapes. See id., at 10;      and Medicine, Committee on the Review of the Health Effects
K. Lichtenberg, E-Cigarettes: Current Evidence and Policy,          of Electronic Nicotine Delivery Systems, Public Health
114 Mo. Med. 335 (2017). Practically overnight, e-cigarettes        Consequences of E-Cigarettes 18 (2018). On the other hand,
became ubiquitous. Sales for e-cigarette products “surged           e-cigarettes, as noted, pose their own health risks, and there
exponentially” after 2010, 2016 Surgeon General's Report            is concern that the use of e-cigarettes by non-smokers—and
152, and according to one estimate, 11.2 million American           especially young non-smokers—may eventually lead them to
adults used e-cigarettes by 2016, see O. Obisesan et al.,           smoke conventional cigarettes. See id., at 532–535.
Trends in E-Cigarette Use in Adults in the United States,
2016–2018, 180 JAMA Internal Med. 1394 (2020).                      Early on, evidence began to mount that young Americans are
                                                                    particularly drawn to e-cigarette products. By the mid-2010s,
 *7 The impetus for the invention of e-cigarettes was the           approximately 2.4 million high-school students and 620,000
desire to create a product that would reduce the health             middle-school students reported using an e-cigarette at least
risks of smoking. A traditional combustible cigarette contains      once in the last 30 days. 2016 Surgeon General's Report 5, 10.
shredded tobacco wrapped in paper, and when lit, the tobacco        And a more recent estimate suggests that approximately 3.6
“catches fire” and “produces smoke, which contains nicotine”        million American middle- and high-school students used an e-
and “tar”—a “complex chemical mixture of more than 7,000            cigarette within a 30-day period. See Congressional Research
compounds that cause a wide range of diseases.” Brief for           Service, H. Sheikh & V. Green, FDA Regulation of Tobacco
Global Action To End Smoking, Inc., as Amicus Curiae 14             Products 1 (2021).
(internal quotation marks omitted). In contrast, an e-cigarette
contains a battery, a heating element or atomizer, a liquid         One particular feature of e-cigarette products appears to drive
nicotine reservoir, and a mouthpiece. See 2016 Surgeon              this youth demand: the panoply of e-liquid flavors. One nearly
General's Report 11. When an e-cigarette user inhales through       decade-old estimate found that there were 7,700 unique e-
the device's mouthpiece, the heating coil engages, and the          liquid flavors, including not only flavors that were familiar to
liquid (called e-liquid or e-juice) turns into a nicotine-infused   cigarette smokers (tobacco and menthol) but also fruit, candy,
vapor. See ibid. Unlike a traditional cigarette, an e-cigarette     and dessert flavors that were appealing to non-smokers. See
does not release tar or other “byproducts of combustion,” but       2016 Surgeon General's Report 11. The kaleidoscope of
it does “emit potentially toxic substances,” including “fine        flavor options adds to the allure of e-cigarettes and has thus
particulate matter,” “metals,” and, of course, nicotine. Brief      contributed to the booming demand for such products among
for Global Action To End Smoking, Inc., as Amicus Curiae            young Americans. See ibid.
15–16 (internal quotation marks omitted).
                                                                    Because the popularity of e-cigarettes is a relatively recent
E-cigarettes typically come in either a “closed” or “open”          phenomenon, these products initially escaped the FDA's
system. See 2016 Surgeon General's Report 151–152. Closed-          regulatory reach. But in 2016, the FDA issued a rule deeming
system e-cigarettes contain a set amount of e-liquid that           e-cigarettes and e-liquids to be “tobacco products.” 81 Fed.
is determined by the manufacturer. Some closed-system               Reg. 29028 (2016). Since most e-cigarette products were
products are designed to be discarded after the e-liquid supply     “not commercially marketed in the United States as of
runs out, while others can be reused by inserting a cartridge       February 15, 2007,” the deeming rule retroactively rendered



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            10
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                  Document 135           Filed 04/03/25           Page 12 of 27
--- S.Ct. ----

such products “new tobacco products” subject to the TCA's         may support such a showing “when appropriate,” § 387j(c)
premarket-authorization regime. 21 U.S.C. § 387j(a)(1)(A).        (5)(A), as can “other ‘valid scientific evidence’ if found
And because those products had not received premarket             sufficient to evaluate the tobacco product,” App. 28
authorization, the effect of the rule was to make their           (quoting § 387j(c)(5)(B)). At an October 23, 2018, public
continued sale illegal. Companies that proceeded to sell their    meeting, an FDA official opined that “[i]n most situations,”
products without such authorization would be subject to stiff     the FDA would expect “some analytical testing specific
penalties. See §§ 331(a), 333(a)(1), and (f)(9).                  to [a manufacturer's] product.” FDA/Center for Tobacco
                                                                  Products, Tobacco Product Application Review, A Public
 *8 To give these manufacturers adequate time to apply for        Meeting October 22–23, 2018—Day 2, Sess. 7, Part 2, at
“premarket” authorization, the FDA delayed enforcement for        2:12:35–2:12:43, https://www.fda.gov/tobacco-products/ctp-
two to three years. See 81 Fed. Reg. 28977–28978. This            newsroom/tobacco-product-application-review-public-
permitted e-cigarette products to remain on the market while      meeting#Video2 (2018 Presentation Video). But the FDA also
manufacturers filed their applications. Initially, applications   assured manufacturers that no “specific studies,” “[y]outh
were due by August 8, 2018. See Vapor Tech. Assn. v. FDA,         behavioral data,” or “new nonclinical or clinical studies”
977 F. 3d 496, 498 (CA6 2020) (citing 81 Fed. Reg. 29010–         would be required. FDA, Premarket Tobacco Product
29011). The FDA later tried via guidance to extend the            Application Content Overview 18, 26 (Oct. 23, 2018), https://
compliance deadline through 2022, but a Federal District          www.fda.gov/media/117507/download (2018 Presentation).
Court ultimately imposed a deadline of September 9, 2020,         The FDA said much the same thing in a lengthy 2019
adding to the time crunch for compliance. See American            guidance document, noting that the “relatively new entrance”
Academy of Pediatrics v. FDA, 399 F. Supp. 3d 479, 487            of e-cigarette products meant that “limited data may exist
(Md. 2019) (imposing a May 12, 2020, deadline); Order in          from scientific studies and analyses.” App. 28. So, according
American Academy of Pediatrics v. FDA, No. 18–cv–883              to this document, the FDA would not require “long-term
(D Md., Apr. 22, 2020), ECF Doc. 182, p. 1 (extending             studies,” and manufacturers could instead rely on various
the deadline to September 9, 2020, due to the COVID–19            alternatives, like observational studies, literature reviews, or
pandemic); see also Vapor Tech. Assn., 977 F. 3d, at 498–500      evidence bridging their new tobacco product to “a studied
(detailing the shifting compliance deadline).                     tobacco product.” Id., at 28, 99–105.

                                                                  After manufacturers submitted millions of applications for
                                                                  flavored e-cigarette products, the FDA “develop[ed] a new
                              C
                                                                  plan to effectively manage” the scientific evidence underlying
At the center of this case are the FDA's actions leading          the onslaught of applications. Id., at 242. In a July 9, 2021,
up to its adjudication of manufacturers’ premarket tobacco        internal memorandum, the FDA took a far less capacious
product applications. The agency proposed a rule outlining        view of the scientific evidence it would consider. Specifically,
application requirements, issued guidance to assist e-cigarette   the FDA said that it would consider it a “fatal flaw” if an
manufacturers, and crafted internal memoranda discussing          application lacked scientific evidence about a product based
how applications were to be reviewed. These voluminous            on either a randomized controlled trial or a longitudinal
and discursive documents paint a picture of an agency that        cohort study. Id., at 243. A “fatal flaw” would lead to a
was feeling its way toward a final stance and was unable or       manufacturer's “likely receiv[ing] a marketing denial order”
unwilling to say in clear and specific terms precisely what       for that product. Ibid.
applicants would have to provide. Pervading these documents
are four overarching topics that animate the dispute before us.    *9 Over a month later on August 17, 2021, the FDA
                                                                  issued another internal memorandum that differed in some
                                                                  respects from the July memorandum. It stated that, in
                                                                  addition to randomized controlled trials and longitudinal
                              1                                   cohort studies, the FDA “would also consider evidence from
                                                                  another study design, provided that it could reliably and
The first topic was the types of scientific evidence needed
                                                                  robustly assess behavior change” and “compar[e] users of
to show that an e-cigarette product is “appropriate for the
                                                                  flavored products with those of tobacco-flavored products.”
protection of the public health.” § 387j(c)(2)(A). Recall
                                                                  Id., at 247, n. ix. Then, on August 25, 2021, just before
that the TCA states that “well-controlled investigations”


                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          11
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                  Document 135           Filed 04/03/25          Page 13 of 27
--- S.Ct. ----

denying respondents’ applications, the FDA rescinded the          flavors, “are a strong driver for youth use.” Id., at 164; see
August 17, 2021, memorandum and stated it would “not              also id., at 190 (discussing the increased use of “fruit- and
consider or rely” on it when evaluating premarket tobacco         candy-flavored” products). Although the FDA suggested that
product applications. Id., at 282.                                its focus on flavored, cartridge-based products “should have
                                                                  minimal impact on small manufacturers (e.g., vape shops)
                                                                  that primarily sell non-cartridge-based” products, it noted
                                                                  that it would also prioritize enforcement against “[a]ll other
                              2
                                                                  [e-cigarette] products for which the manufacturer has failed
The second topic was the need for manufacturers to compare        to take (or is failing to take) adequate measures to prevent
their proposed products to other products. The TCA requires       minors’ access,” as well as “[a]ny [e-cigarette] product that
premarket tobacco product applications to provide “full           is targeted to minors or whose marketing is likely to promote
reports of all information ... concerning investigations which    use of [e-cigarettes] by minors.” Id., at 160–161.
have been made to show” that a new product “presents less
risk than other tobacco products.” 21 U.S.C. § 387j(b)(1)
(A). Elaborating on that standard at a presentation on October                                 4
23, 2018, an FDA official encouraged applicants to provide
comparisons between their products and a “representative        *10 The final theme cutting across these documents is
sample of tobacco products on the market.” 2018 Presentation   the FDA's unflinching advice that manufacturers should
11. And a 2019 guidance document similarly recommended         submit “marketing plans” as part of their applications.
comparisons of “the health risks of [a manufacturer's] product “Marketing plans” broadly refer to a manufacturer's “specific
to both products within the same category and subcategory, as  restrictions on sale and distribution” that could, for example,
well as products in different categories as appropriate.” App. “decreas[e] the likelihood that those who do not use
30. The 2019 guidance also gave manufacturers discretion       tobacco products will start using tobacco products.” Id., at
to choose comparator products as long as the FDA could         27. In its 2019 guidance, the FDA urged manufacturers
“understand [an] applicant's rationale and justification for   to “shar[e]” their “marketing plan[s] to enable FDA to
[the] comparators chosen.” Ibid. Later that year at a public   better understand the potential consumer demographic” of
meeting, an FDA official offered the same general advice       their products. Id., at 83. The 2020 enforcement guidance
that a successful premarket tobacco product application        hit the same note, suggesting the FDA “intend[ed] to
“may include comparisons to other tobacco products in          consider” marketing plans and that such plans would
the same category or in other categories or subcategories.”    be relevant to the agency's enforcement “prioritization.”
FDA/CTP, Deemed Tobacco Product Applications, Video            Id., at 167, 169. The FDA even offered examples of
Presentation of Premarket Tobacco Product Applications         what marketing restrictions manufacturers might consider,
(PMTAs) Review Process and Resources (Oct. 28, 2019),          including screening retailers, age-verification technology,
at 31:10–31:16, https://collaboration.fda.gov/ptf21jryjxyk/?   mystery-shopper programs, controls over distributors, and
OWASP_CSRFTOKEN=7a8d148ac776ca8f3aec38aff7dee12ea4988c1caed05010cded06ab7496714f.
                                                               quantity limits. Id., at 167–169, 223. It also cautioned that,
                                                               based on its experience, “focusing on how the product was
                                                               sold” and “age verification” “would not be sufficient to
                                                               address youth use.” Id., at 215, 220–221.
                                3

In a lengthy April 2020 guidance document, 2 the FDA
elaborated on a third theme: its enforcement priorities                                         D
based on device type. The agency said it would
“prioritize enforcement of flavored, cartridge-based” e-          In 2019, the FDA proposed a rule setting out the requirements
cigarette products “other than tobacco- and menthol-flavored      for premarket tobacco product applications. See 84 Fed.
products.” App. 160. It claimed that “youth overwhelmingly        Reg. 50566 (2019). That proposed rule, in significant part,
prefer cartridge-based” products, which are “easy to conceal,     crystallized the four themes discussed above. It offered
can be used discreetly, may have a high nicotine content,         specifics on the “types of [scientific] investigations” that
and are manufactured on a large scale.” Id., at 163. And the      applications “would be required to contain.” Id., at 50603;
document asserted that certain flavors, such as candy and fruit   see, e.g., ibid. (listing “[c]ross sectional and longitudinal


                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                        12
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                  Document 135           Filed 04/03/25           Page 14 of 27
--- S.Ct. ----

surveys,” “epidemiologic studies,” and “analytic studies” like    sectional survey of current and former adult e-cigarette
“randomized controlled clinical trials, cohort studies, and       smokers. See App. to Pet. for Cert. 280a.
case control studies”); id., at 50599 (proposing “health risk
investigations” besides new clinical studies). The proposed        *11 The FDA received applications from more than 500
rule also required certain cross-product comparisons. See id.,    companies in total, covering more than 6.5 million e-cigarette
at 50603 (requiring that applicants “submit investigations        products. See FDA Denies Marketing Applications for About
that have been made to show whether the tobacco product           55,000 Flavored E-Cigarette Products for Failing To Provide
has the same or different potential health risks ... than         Evidence They Appropriately Protect Public Health (Aug. 26,
other tobacco products”). And it underscored the importance       2021),     https://fda.gov/news-events/press-announcements/
of device type with respect to product testing. See id.,          fda-denies-marketing-applications-about55000-flavored-e-
at 50585 (proposing requirements for constituent testing          cigarette-products-failing-provide-evidence. Almost a year
specific to open-system products). In addition, the proposed      after the court-ordered deadline, the FDA adjudicated its
rule obligated manufacturers to submit marketing plans,           first slate of premarket tobacco product applications and
which were described as “provid[ing] input that is critical” to   issued marketing denial orders to three manufacturers whose
the agency's review. Id., at 50580, 50581.                        applications covered 55,000 flavored e-cigarette products.
                                                                  See ibid. The FDA concluded that the manufacturers failed
Notice-and-comment rulemaking takes time, and with a              to provide “sufficient product-specific scientific evidence to
court-imposed deadline fast approaching, the FDA proceeded        demonstrate enough of a benefit to adult smokers that would
to adjudicate the first major wave of premarket tobacco           overcome the risk posed to youth.” Ibid. Such “scientific
product applications in August and September 2021 without         evidence,” the agency said, “would likely be in the form of a
a final rule and the standards it included. It was not until      randomized controlled trial or longitudinal cohort study,” but
October 5, 2021, that the FDA adopted the final rule. See 86      the FDA promised that it remained open to “other types of
Fed. Reg. 55300 (2021).                                           evidence” that are “sufficiently robust and reliable.” Ibid.

                                                                  Shortly thereafter, the FDA denied respondents’ applications.
                                                                  See App. to Pet. for Cert. 166a, 278a. It concluded that
                              1
                                                                  respondents had not provided sufficient scientific evidence
Respondents Wages and White Lion Investments, LLC,                to demonstrate that the marketing of their products would
doing business as Triton Distribution, and Vapetasia, LLC,        be appropriate for the protection of public health. See
manufacture flavored e-liquids for open-system e-cigarettes.      id., at 166a–167a. Specifically, the FDA held respondents
Their e-liquid flavor offerings include “Killer Kustard           had not provided evidence from a randomized controlled
Blueberry,” “Rainbow Road,” “Iced Blackberry Lemonade,”           trial, longitudinal cohort study, or another “reliabl[e] and
“Pineapple Express,” “Suicide Bunny Mother's Milk and             robus[t]” method showing that their dessert-, candy-, and
Cookies,” and “Blueberry Parfait.” See App 396, 546, 587,         fruit-flavored products had benefits “over an appropriate
593, 605, 608.                                                    comparator tobacco-flavored” product. Id., at 167a. With such
                                                                  evidence lacking, the FDA deemed respondents’ products
Respondents submitted premarket tobacco product                   “misbranded” and “adulterated” under the FDCA. Id., at
applications on September 9, 2020, the final court-ordered        168a.
deadline. As the FDA recommended in its guidance,
their applications included marketing plans, which touted         To each denial order, the FDA appended a “Technical Project
respondents’ use of third-party age-verification technology,      Lead (TPL) Review.” See id., at 177a, 285a. These lengthy
quantity limits, and requirements for retailers to develop        documents have several noteworthy features. To start, they
compliance checks. See id., at 431–436, 441. To show the          offer a window into the FDA's evolving understanding of
safety of their products, respondents “pool[ed] resources”        how flavor, regardless of e-cigarette device type, drives
with “other, similarly situated e-liquid companies” to “fund      youth smoking initiation and nicotine addiction. The reviews
the development of certain, required non-product specific         canvass the scientific literature on youth e-cigarette use and
data,” including what they characterized as a “comprehensive      explain that this literature had led the agency to conclude that
review of the scientific literature.” Id., at 311. One of the     flavors make e-cigarette smoking “more palatable for novice
respondents, Vapetasia, also submitted the results of a cross-    youth and young adults” and may “increase nicotine exposure



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          13
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135            Filed 04/03/25          Page 15 of 27
--- S.Ct. ----

by potentially influencing the rate of nicotine absorption.” Id.,    *12 In a footnote, the en banc majority also suggested that
at 190a, 298a. What is more, the FDA stated, young people           the FDA had violated a provision of the TCA's notice-and-
are drawn to particular flavors, and the FDA anticipated that       comment requirements, see 21 U.S.C. §§ 387g(c)–(d), by
its crackdown on one type of e-cigarette device would lead          imposing a “de facto ban on flavored e-cigarettes” through
youth to flock to a different type of device to continue using      mass adjudicatory denials, 90 F. 4th, at 384, n. 5.
a desired flavor. See id., at 192a, 300a.
                                                                    Having found that the FDA had erred in these ways, the court
Despite the FDA's prior representations about the importance        rejected the FDA's suggestion that any errors were harmless.
of marketing plans, the reviews stated that, “for the sake of       Relying heavily on our decision in Calcutt v. FDIC, 598 U. S.
efficiency,” the FDA had decided not to evaluate respondents’       623 (2023) (per curiam), the court suggested that “APA errors
marketing plans. Id., at 200a–201a, n. xix, 308a–309a, n. xix.      are only harmless where the agency would be required to take
The FDA acknowledged that it “is theoretically possible that        the same action no matter what. In all other cases,” the court
significant mitigation efforts” could decrease the appeal of        concluded, “an agency cannot avoid remand.” 90 F. 4th, at
flavored e-cigarettes to a sufficient degree to counterbalance      390. And, in a brief alternative analysis, the court found that
the documented risks of such products, but it found that none       each of the FDA's errors “plainly affected the procedure used”
of the marketing plans the FDA had seen had managed to do           and was prejudicial. Ibid. (internal quotation marks omitted).
that. Ibid.
                                                                    Judge Haynes, joined by four other judges, dissented. See id.,
The FDA estimates that in its first wave of marketing orders,       at 390. Judge Graves joined the dissent in part. See id., at 405.
it issued denials to 320 applicants, who sought approval for
approximately 1.2 million products. See Tr. of Oral Arg. 33.        The en banc Fifth Circuit's decision conflicted with those of
                                                                    other Circuits, and we granted the FDA's petition for a writ of
                                                                    certiorari. 603 U. S. –––– (2024). We now vacate and remand.
                               2

Respondents petitioned for review in the Fifth Circuit. A                                          II
motions panel initially granted a stay of their marketing denial
orders pending review, see 16 F. 4th 1130, 1134 (2021), but          [1] The question we agreed to decide is whether the FDA
a divided merits panel ultimately denied the petitions, see 41      acted arbitrarily and capriciously in denying respondents’
F. 4th 427, 430 (2022).                                             applications for premarket approval of their tobacco products.
                                                                    See Pet. for Cert. I. But before tackling that question, we
The court then reheard the case en banc, granted respondents’       briefly address as a preliminary matter an argument that is
petitions for review, and remanded to the FDA. The en               touched on in respondents’ brief: namely, that either the APA
banc majority held that the FDA had acted arbitrarily and           or the TCA required the FDA to use notice-and-comment
capriciously in denying respondents’ applications. In its view,     rulemaking to set out the requirements that must be met in a
the FDA performed a surprise switch from the requirements           premarket tobacco product application.
articulated in the various predecisional documents. 90 F.
4th 357, 362 (2024). The court pointed to several main               [2] [3] Unless Congress has specified otherwise, agencies
examples of this phenomenon, including the FDA's positions          are generally free to develop regulatory standards “either
on scientific evidence, cross-flavor comparisons, and device        by general [legislative] rule or by individual order” in an
type. See, e.g., id., at 376, 377, 384. The court expressed         adjudication. SEC v. Chenery Corp., 332 U. S. 194, 202–
particular concern that the FDA pulled the rug out from under       203 (1947) (Chenery II). Of course, if a statute requires
manufacturers by “not even read[ing] the marketing plans            rulemaking, the affected agency must comply. Ibid. And that
it previously said were critical.” Id., at 372. Although the        is what respondents claim in passing here. Respondents’
FDA's attorneys represented that the agency had reviewed “          defense of the decision below is based almost entirely on 5
‘summar[ies]’ ” of respondents’ marketing plans, the court          U.S.C. § 706(2)(A) and related case law. But their brief also
deemed that representation an illicit post hoc rationalization.     suggests that the FDA's decision to issue denials based on
Id., at 373.                                                        standards developed in adjudication violated other provisions
                                                                    of the APA and TCA that, they claim, required notice-and-



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                            14
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                  Document 135            Filed 04/03/25          Page 16 of 27
--- S.Ct. ----

comment rulemaking. See Brief for Respondents 47–49, and          “examine[d] the relevant data and articulate[d] a satisfactory
n. 33. This echoes an argument the Court of Appeals made in       explanation for its action including a rational connection
a short footnote. See 90 F. 4th, at 384, n. 5 (citing 21 U.S.C.   between the facts found and the choice made.” Motor
§§ 387g(a)(1)(A), (a)(2), (c)–(d)).                               Vehicle Mfrs. Assn. of United States, Inc. v. State Farm
                                                                  Mut. Automobile Ins. Co., 463 U. S. 29, 43 (1983) (internal
 [4] We did not grant certiorari on that question, and without    quotation marks omitted). The scope of this review “is
adequate briefing, it would not be prudent to decide it here.     narrow,” and reviewing courts must exercise appropriate
See Anza v. Ideal Steel Supply Corp., 547 U. S. 451, 461          deference to agency decisionmaking and not substitute their
(2006). Accordingly, we do not reach that question and            own judgment for that of the agency. Ibid.
express no view on its merits. 3
                                                                  Our case law identifies numerous ways in which an agency
                                                                  may act arbitrarily and capriciously. The Fifth Circuit
                                                                  concluded that the FDA overstepped this standard in four
                              III                                 such ways. In its view, the FDA (1) “invent[ed] post hoc
                                                                  justifications” for its failure to consider applicants’ marketing
 *13 We now turn to the Court of Appeals’ holding that the
                                                                  plans; (2) failed to give “fair notice” of the evidentiary
FDA acted arbitrarily and capriciously. That decision was
                                                                  and comparative requirements that would be imposed at the
multifaceted, but its analysis boils down to a central concern:
                                                                  application stage; (3) changed its position regarding scientific
it faulted the FDA for allegedly changing the requirements for
                                                                  evidence and device type; and (4) faulted respondent “for
premarket tobacco product applications between the time of
                                                                  relying in good faith on [its] previous” guidance. 90 F. 4th,
its guidance and the denials of respondents’ applications.
                                                                  at 371–386.
The feature of our current case law on arbitrary-and-
                                                                   [7] All four of these principles orbit around the same basic
capricious review that addresses that issue is our change-in-
                                                                  concern: an agency should not mislead regulated entities. The
position doctrine. Under that doctrine, we must ask whether
                                                                  essence of respondents’ argument is that the FDA told them
the FDA changed course and, if it did, whether it offered
                                                                  in guidance documents that it would do one thing and then
satisfactory reasons for the change. Analysis of the FDA's
                                                                  turned around and did something different when it reviewed
position prior to the denials at issue requires a close reading
                                                                  their applications.
of nuanced statements in a body of guidance documents that
evidence the agency's evolving assessment of the relevant
                                                                   [8] The change-in-position doctrine is administrative law's
issues. Affected parties may have come away with the
                                                                  answer to that problem. Under that doctrine, “[a]gencies
impression that the agency would apply a less demanding
                                                                  are free to change their existing policies as long as they
standard of proof than is evident in the denial orders the FDA
                                                                  provide a reasoned explanation for the change,” “ ‘display
ultimately issued, but in the end, we cannot say that the FDA
                                                                  awareness that [they are] changing position,’ ” and consider
improperly changed its position with respect to scientific
                                                                  “ ‘serious reliance interests.’ ” Encino Motorcars, LLC v.
evidence, comparative efficacy, or device type. With respect
                                                                  Navarro, 579 U. S. 211, 221–222 (2016) (quoting FCC v.
to the FDA's guidance on marketing plans, we clarify the
                                                                  Fox Television Stations, Inc., 556 U. S. 502, 515 (2009)). For
appropriate legal standard governing claims of harmless error,
                                                                  reasons we explain, the change-in-position doctrine provides
and we remand to the Fifth Circuit to apply that standard in
                                                                  the governing framework here.
the first instance.

                                                             *14 [9] Respondents appear to recognize as much, although
                                                            they suggest at times that the applicable requirements are not
                            A                               just part of arbitrary-and-capricious review but are rooted in
                                                            part on the constitutional right to due process. See Brief for
 [5] [6] We begin with our change-in-position doctrine. The
                                                            Respondents 28–29, 35, 44. In substance, however, there is
APA requires a reviewing court to “hold unlawful and set
aside agency action” found to be “arbitrary, capricious, an little difference in the standard they ask us to apply. 4 They
abuse of discretion, or otherwise not in accordance with    do not rely on four distinct administrative-law principles;
law.” 5 U.S.C. § 706(2)(A). Our well-worn arbitrary-and-    rather, their arguments before this Court rest primarily on
capricious standard ensures that an administrative agency   the FDA's supposed change in position regarding application



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          15
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                   Document 135            Filed 04/03/25          Page 17 of 27
--- S.Ct. ----

requirements. See id., at 29–42, 45–47; Tr. of Oral Arg.           more detailed justification than what would suffice for a new
88. To the extent respondents raise a freestanding “fair           policy created on a blank slate.” Ibid. But the agency must “be
notice” argument, see id., at 90, the exact contours of that       cognizant that longstanding policies may have ‘engendered
contention are somewhat unclear. By asking us to affirm            serious reliance interests that must be taken into account.’
the decision below, respondents do not now suggest that            ” Encino Motorcars, 579 U. S., at 221–222 (quoting Fox
under the TCA the FDA “had an affirmative obligation to            Television, 556 U. S., at 515).
issue specific guidance” as to how it would evaluate flavored
products. Brief for Respondents 33 (internal quotation marks        *15 Echoing the Fifth Circuit, respondents claim that the
omitted). Instead, respondents merely support the Fifth            FDA violated the change-in-position doctrine with respect to
Circuit's conclusion that when an agency issues guidance,          the four principal themes discussed above. See supra, at 9–
it cannot “change the requirements set forth therein without       14. First, according to respondents, the FDA, after initially
consideration of applicants’ reasonable reliance interests,        telling applicants that no specific kinds of scientific evidence
proper notice to applicants, and a reasonable opportunity          were required, turned around and rejected all applications
for applicants to conform to the changed requirements.”            lacking evidence from a randomized controlled trial or
Ibid. It is unclear what, if any, daylight exists between          longitudinal cohort study. See Brief for Respondents 37, 40–
that conception of “fair notice” and our change-in-position        42. Second, respondents claim, the FDA told applicants they
doctrine. See, e.g., Encino Motorcars, 579 U. S., at 221–222       had discretion to choose appropriate comparator products,
(“In explaining its changed position, an agency must also be       but it ultimately denied applications on the ground that they
cognizant that longstanding policies may have engendered           failed to make specific comparisons between dessert-, candy-,
serious reliance interests that must be taken into account....     and fruit-flavored products, on the one hand, and tobacco-
[A] reasoned explanation is needed for disregarding facts and      flavored products on the other. See id., at 27–36. Third,
circumstances that underlay or were engendered by the prior        respondents claim that the FDA abandoned earlier guidance
policy” (internal quotation marks omitted)).                       about the importance of device type and instead denied
                                                                   authorization to all dessert-, candy-, and fruit-flavored e-
                                                                   cigarette products regardless of device type. See id., at 45–
                                                                   47. And fourth, according to respondents, the FDA went back
                               B
                                                                   on its word by failing even to consider their marketing plans.
[10] The change-in-position doctrine asks two questions.           See id., at 49–50.
The first is whether an agency changed existing policy. 5
                                                                   As to the first three issues, we conclude that the FDA's denial
And we have suggested that this occurs when an agency
                                                                   orders were sufficiently consistent with its predecisional
acts “inconsistent[ly]” with an “earlier position,” id., at 224,
                                                                   guidance and thus did not run afoul of the change-in-position
performs “a reversal of [its] former views as to the proper
                                                                   doctrine. As to the failure to consider marketing plans, the
course,” State Farm, 463 U. S., at 41, or “disavow[s]”
                                                                   FDA does not seek review of the Fifth Circuit's finding of
prior “inconsistent” agency action as “no longer good law,”
                                                                   error. See Brief for Petitioner 31. Rather, it asks us to clarify
Fox Television, 556 U. S., at 517 (internal quotation marks
                                                                   the harmless-error rule and remand for application of the
omitted). For example, we have held that an agency changed
                                                                   proper standard. See id., at 38. We agree with the FDA that
its position when it rescinded a prior regulation, see State
                                                                   that is the appropriate course of action.
Farm, 463 U. S., at 41–42, “expand[ed] the scope of its
enforcement activity,” Fox Television, 556 U. S., at 517, and
“abandon[ed a] decades-old practice” applied in enforcement
actions, Encino Motorcars, 579 U. S., at 218.                                                     1

 [11] Once a change in agency position is identified, the           [12] We first address the FDA's position on scientific
doctrine poses a second question: Did the agency “display          evidence. In respondents’ view, the FDA initially stated
awareness that it is changing position” and offer “good            that manufacturers would not need to provide specific kinds
reasons for the new policy”? Fox Television, 556 U. S.,            of studies like randomized controlled trials or longitudinal
at 515. At this second step, the agency does not need to           cohort studies but then treated such evidence as essential.
show “that the reasons for the new policy are better than
the reasons for the old one.” Ibid. Nor must it “provide a


                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           16
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                   Document 135           Filed 04/03/25           Page 18 of 27
--- S.Ct. ----

                                                                   particular type of study was necessary. On the contrary, the
                                                                   FDA acknowledged that it was open to evidence besides “new
                               a
                                                                   nonclinical or clinical studies.” 2018 Presentation 26. And
Respondents express frustration about the lack of clear prior      the FDA promised that it would consider evidence “bridging”
notice regarding the type of scientific evidence that was          new tobacco products to already marketed products whose
essential for approval of an application, but we cannot            safety was backed by “existing clinical, nonclinical, or
agree with their argument that the FDA went back on any            product information.” Id., at 18, 27. None of this amounted
commitments made in the guidance it provided before ruling         to anything like a hard-and-fast commitment as to the
on respondents’ applications.                                      minimum evidence the agency would require for marketing
                                                                   authorization. 6
Both the TCA itself and the FDA's guidance left the agency
broad discretion to decide what sort of scientific evidence an      *16 A June 2019 guidance document was similarly
applicant was required to submit. The TCA itself imposes           noncommittal. After reiterating the statutory requirement of
only basic requirements on this matter. It says that the           “well-controlled investigations,” the document recognized
agency's determination of what “would be appropriate for           that the “relatively new entrance” of e-cigarettes “on the
the protection of the public health” must be made based on         U.S. market” meant that “limited data may exist from
either “well-controlled investigations, which may include 1 or     scientific studies and analyses.” App. 28 (citing 21 U.S.C.
more clinical investigations by experts qualified by training      § 387j(c)(5)(A)). As a result, the document stated, the FDA
and experience to evaluate the tobacco product,” 21 U.S.C.         would consider “other ‘valid scientific evidence’ if found
§ 387j(c)(5)(A) (emphasis added), or—and this is the point         sufficient.” App. 28. But it cautioned that “[n]onclinical
that is critical here—other “valid scientific evidence” that “is   studies alone are generally not sufficient.” Ibid.
sufficient to evaluate the tobacco product,” § 387j(c)(5)(B).
The TCA leaves it to the FDA to decide what constitutes            The guidance document went on to give examples of “other
a “well-controlled investigatio[n]” or other “valid scientific     evidence” that might suffice, but in doing so, it cautioned
evidence” that is “sufficient.”                                    about the need for scientific rigor. For example, while
                                                                   stating that applicants could cite “data from the published
Before ruling on respondents’ and other manufacturers’             literature or government-sponsored databases,” it warned that
applications, the FDA addressed the issue of scientific            such data must be “adequately bridged to your product”
evidence in a series of lengthy documents and oral                 with “a scientific rationale.” Id., at 98. The document told
presentations by agency officials, but it is hard to find in       manufacturers that they could also cite “[p]ublished literature
all this verbiage any specific commitments about exactly           reviews (including meta-analysis),” but that such evidence
what sorts of scientific evidence an applicant would have          is “considered a less robust form of support.” Id., at 100.
to provide. As we will detail below when we discuss the            And applicants were advised that they could “conduc[t]
particulars of respondents’ applications, the FDA commented        independent analyses of published studies,” but that “if
on the strength of various types of evidence and how               critical study details are not submitted, the studies may not be
particular types of evidence would likely be evaluated, but at     useful in FDA's review.” Id., at 102.
no point did it lay down any clear test.
                                                                   A fair summary of the main point made in all this guidance
For example, during an October 23, 2018, public meeting,           is that (a) it was not essential for manufacturers to submit
an agency official said that “[i]n most situations it is           evidence based on “well-controlled investigations,” such as
likely that at least some [new] analytical testing specific        randomized controlled trials or longitudinal cohort studies,
to the product would be conducted to support an”                   but (b) if they did not do so, they would have to provide
application. 2018 Presentation Video, at 2:12:35–2:12:44           rigorous scientific evidence that the sale of their particular
(emphasis added). The official then offered examples such          products would be appropriate for the protection of the public
as “randomized controlled clinical trials”; “alternatives”         health. In this case, the applicants did not submit randomized
like “pharmacokinetic,” “pharmacodynamic,” “biomarker,”            controlled trials or longitudinal cohort studies, so the fate of
“topography,” or “focus group studies”; published peer-            their applications turned on whether they submitted “other
reviewed literature; and literature reviews more generally.        evidence” that met the FDA's standard of scientific rigor and
Id., at 2:13:07–2:14:44. But the official never stated that any    relevance to their product. The FDA rejected respondents’



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           17
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                   Document 135           Filed 04/03/25           Page 19 of 27
--- S.Ct. ----

applications because it concluded that its “other evidence” test   contained checkboxes to indicate whether an applicant
was not met, and the explanation in its denial orders echoed       submitted a randomized controlled study (Criterion A), a
statements made at various points in its earlier guidance.         longitudinal cohort study (Criterion B), or other evidence
                                                                   “related to potential benefit to adults” (Criterion C). App.
Both respondents relied on a “comprehensive review of the          615–638; see Brief for Respondents 32. Criterion C appears to
scientific literature.” Id., at 303, 392. But respondents had      defeat respondents’ argument, but they contend that the FDA
notice from the 2019 guidance that the FDA considered              made it clear that this criterion demanded a study of the effect
literature reviews “a less robust form of support.” Id., at 100.   of flavored products on adult smokers “ ‘ “over time” ’ ” and
The 2019 guidance also instructed that applicants submitting       that this requirement duplicated Criterion B, which looked for
literature reviews should, among other things, “[i]nclude          a “longitudinal cohort study.” Id., at 37.
comparative assessments of the health risks associated with
use of [a manufacturer's] new tobacco product compared to          This argument fails because a “longitudinal cohort study”
the risks associated with quitting tobacco product use, using      and evidence of a product's effects “over time” are not the
other tobacco products, and never using tobacco products.”         same thing. The term “longitudinal study” is typically used
Id., at 101. Respondents’ literature review did the opposite. It   to describe a particular kind of long-term study, namely, one
concluded that “there is not enough evidence ... to determine      that “employ[s] continuous or repeated measures to follow
whether e-cigarette flavors aid in smoking cessation.” Id., at     particular individuals over prolonged periods of time—often
475.                                                               years or decades.” E. Caruana, M. Roman, J. Hernández-
                                                                   Sánchez, & P. Solli, Longitudinal Studies, 7 J. Thoracic
One of the respondents, Vapetasia, submitted results from          Disease E537 (2015). Not every study that considers a
a cross-sectional survey finding that “82.99% of survey            product's effects “over time” falls within this understanding. 7
respondents indicated that e-cigarettes helped them quit
smoking combustible tobacco.” 41 F. 4th, at 436. But the
FDA concluded the survey was not adequately tied to
Vapetasia's flavored products. App. to Pet. for Cert. 280a.                                       c
That requirement echoed the 2019 guidance's advice that
                                                                   Based on the FDA's internal memoranda from the summer
manufacturers submitting evidence from “new nonclinical ...
                                                                   of 2021, respondents argue that the agency secretly enforced
studies” should “explain why [a] study is relevant to use for
                                                                   a new requirement that manufacturers must submit evidence
the [manufacturer's] product (e.g., the similarities between the
                                                                   from either a randomized control trial or longitudinal cohort
product, product use, or product market).” App. 98–99.
                                                                   study. See Brief for Respondents 31–32. Recall that the
                                                                   FDA's July 9, 2021, memorandum stated that the failure
 *17 Based on the FDA's largely noncommittal guidance
                                                                   to submit such evidence would constitute a “fatal flaw”
on scientific evidence and its specific reasons for rejecting
                                                                   that would “likely” result in denial of an application. App.
respondents’ applications, we cannot say that the agency
                                                                   243. Even though this statement, like most of what the
deviated “from a prior policy sub silentio or simply
                                                                   FDA said in its guidance, was not categorical, it certainly
disregard[ed]” what it had previously said. Fox Television,
                                                                   suggested a much harder stance than was implied by the
556 U. S., at 515. In line with the agency's prior guidance,
                                                                   FDA's public statements, which told applicants that “other
each denial order was based on the applicant's failure to
                                                                   evidence” might be capable of proving a new tobacco
provide either evidence from well-controlled investigations,
                                                                   product's appropriateness for the protection of public health.
such as “a randomized controlled trial and/or longitudinal
cohort study,” see App. to Pet. for Cert. 167a, or other
                                                                    [13] Respondents suggest that the FDA surreptitiously
evidence that was found to be “reliabl[e] and robus[t],” id., at
                                                                   applied the “fatal flaw” memorandum, and as evidence, they
167a–168a. No change in position occurred in this respect.
                                                                   note that until well after their applications were denied,
                                                                   the FDA rejected all applications for flavored products. But
                                                                   agencies are entitled to a presumption of regularity, Citizens
                               b                                   to Preserve Overton Park, Inc. v. Volpe, 401 U. S. 402,
                                                                   415 (1971), and the record offers enough support for us to
Contrary to respondents’ contention, this conclusion is not        conclude that the FDA never enforced a rigid “fatal flaw”
undermined by the FDA's scientific-review form, which              standard.


                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           18
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                  Document 135           Filed 04/03/25           Page 20 of 27
--- S.Ct. ----


 *18 To start, a later internal memorandum dated August 17,
                                                                                                 2
2021, appeared to contradict the “fatal flaw” memorandum.
The new memorandum represented that the FDA “would                 [14] Next, we turn to the FDA's comparative-efficacy
also consider evidence from another study design” besides         requirement, which called on manufacturers to compare
randomized controlled trials and longitudinal cohort studies,     the health effects of their dessert-, candy-, and fruit-
“provided that it could reliably and robustly assess behavior     flavored products to those of tobacco-flavored products.
change” and “compar[e] users of ” dessert-, candy-, and fruit-    On respondents’ reading of the record, the FDA initially
flavored “products with those of tobacco-flavored products.”      gave applicants broad discretion to select appropriate
App. 247, n. ix. The FDA also acknowledged that “indirect         comparators for their products, but it later categorically
evidence or bridged data from the literature might still be       rejected applications that failed to show that “flavored
appropriate for many new products” too. Id., at 266. Even         e-cigarettes promote more switching than unflavored” or
though the FDA predicted these “other types of evidence”          tobacco-flavored e-cigarettes. 90 F. 4th, at 376—377; accord,
would “not likely be sufficiently robust or direct,” the August   Brief for Respondents 29–33.
17, 2021, memorandum is unambiguous that the FDA would
nevertheless consider such evidence. Id., at 267.

                                                                                                 a
This memo might be viewed as dooming any argument based
on the earlier “fatal flaw” memorandum, but on August 25,         The record does not suggest that the FDA contradicted
2021, the FDA rescinded the August 17, 2021, memorandum           its predecisional guidance by requiring certain cross-flavor
and represented that it would “not consider or rely on [it] as    comparisons. To start, the TCA expressly contemplates
a supporting document.” Id., at 282.                              comparisons of different tobacco products. It requires an
                                                                  applicant to provide “full reports of all information ...
Rescission of the August 17 memorandum raises the question        concerning investigations which have been made to show ...
whether that action effectively reinstated the July 9, 2021,      whether [its] tobacco product presents less risk than other
“fatal flaw” memorandum or was a pretext to mask the
                                                                  tobacco products.” 21 U.S.C. § 387j(b)(1)(A) (emphasis
FDA's adherence to secret criteria. But the FDA represents
                                                                  added). Moreover, the FDA's determination that a new
that these internal memoranda played no role in its review
                                                                  tobacco product is “appropriate for the protection of the
of applications, see Reply Brief 11–12, and for us to peel
                                                                  public health” is an inherently comparative judgment. The
back the curtain on that representation would have required
                                                                  FDA must account for the “increased or decreased likelihood
respondents to make a “strong showing of bad faith or
                                                                  that existing users of tobacco products will stop using such
improper behavior,” Overton Park, 401 U. S., at 420; see          products” and the “increased or decreased likelihood that
also Department of Commerce v. New York, 588 U. S. 752,           those who do not use tobacco products will start using
781 (2019) (“[J]udicial inquiry into ‘executive motivation’       such products.” § 387j(c)(4). This balancing test calls out
represents ‘a substantial intrusion’ into the workings of         for various types of comparisons, including comparisons
another branch of Government and should normally be               between new tobacco products and those that are already
avoided” (quoting Arlington Heights v. Metropolitan Housing       available, as well as between different types of new tobacco
Development Corp., 429 U. S. 252, 268, n. 18 (1977))).            products that may attract new smokers.
Respondents have not surmounted the high standard that must
be met to warrant such a “substantial intrusion” into the          *19 Through its predecisional guidance, the FDA elaborated
Executive's functioning. Id., at 268, n. 18 (internal quotation   on the types of comparisons that would be helpful. Echoing
marks omitted).                                                   the TCA, the June 2019 guidance document recommended
                                                                  that a manufacturer “compare the health risks of its product
We thus conclude that respondents failed to show that the         to both products within the same category and subcategory,
FDA changed its position with respect to the scientific           as well as products in different categories as appropriate.”
evidence supporting premarket tobacco product applications.       App. 30. The FDA went on to explain what it means for
                                                                  manufacturers to make comparisons to “similar, marketed
                                                                  tobacco products in the same category.” Id., at 58. “For
                                                                  example,” it advised, “if your [application] is for an e-liquid,


                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          19
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                   Document 135           Filed 04/03/25          Page 21 of 27
--- S.Ct. ----

we recommend a comparison to other e-liquids with similar          need for robust cross-product comparisons (including on
nicotine content, flavors, and other ingredients, used in the      the dimension of flavor) and (2) the FDA's heightened
same manner and under similar conditions.” Ibid. The plain         concern with dessert-, candy-, and fruit- flavored products
implication of this statement is that the FDA might consider       compared to tobacco- and menthol-flavored products. Such
whether an application for a flavored product included a           a predictable outgrowth from previous guidance is not
comparison with other products in the flavored category.           an “[u]nexplained inconsistency” amounting to a “change”
                                                                   under the change-in-position doctrine. National Cable &
Other parts of the 2019 guidance also underlined the FDA's         Telecommunications Assn. v. Brand X Internet Services, 545
concern about “the potential impact of flavors on product          U. S. 967, 981 (2005); cf. Long Island Care at Home, Ltd.
toxicity and appeal to youth and young adults.” Id., at 87.        v. Coke, 551 U. S. 158, 174 (2007) (“The Courts of Appeals
The FDA noted that it “considers the appeal and use of [e-         have generally interpreted this to mean that the final rule
cigarette] product flavors important in ascertaining the health    the agency adopts must be a logical outgrowth of the rule
risks of these products” and thus recommended “scientific          proposed” (internal quotation marks omitted)).
reviews of flavors.” Id., at 87–88. Specifically, it called
on manufacturers to “examine the impact of flavoring on
consumer perception ... especially given the attractiveness of
                                                                                                 b
flavors to youth and young adults.” Id., at 88.
                                                                    *20 Respondents contend that the FDA “said nothing about
Further, in its 2020 enforcement guidance, the FDA                 comparing” dessert-, candy-, and fruit-flavored “products
telegraphed its view that dessert-, candy-, and fruit-flavored     to tobacco-flavored products,” Brief for Respondents 27,
e-cigarette products are more likely than tobacco- and             and even suggested manufacturers could “freely select”
menthol-flavored products to appeal to the young. The FDA          comparators as long as they provided adequate “justification
noted its intent to “prioritize enforcement of flavored” e-        or rationale” for their comparator choice, id., at 30–31.
cigarette products “other than tobacco- and menthol-flavored
products,” id., at 160, and observed that “youth use of mint-      As we noted, respondents are correct that the FDA did
and fruit-flavored [e-cigarette] products is higher than that of   not provide this precise instruction in its predecisional
menthol- and tobacco-flavored [e-cigarette] products.” Id., at     guidance. But, as an FDA official noted at the 2018 public
163. The FDA also relied on data that flavors like tobacco and     presentation, manufacturers were encouraged throughout the
menthol “were preferred more by adults than youth.” 8 Id., at      application process to think hard about “what is or are
162.                                                               the most appropriate comparators” to their products. 2018
                                                                   Presentation Video, at 1:57:37–1:57:42. And the agency's
When it reviewed respondents’ applications, the FDA did            subsequent guidance emphasized the importance of cross-
not contradict any previously announced position with              product comparators and the FDA's specific worry that
respect to the comparative effects of differently flavored         dessert-, candy-, and fruit-flavored products would appeal
products. As respondents’ marketing denial orders stated,          to youth more than tobacco- and menthol-flavored products.
their applications were unsuccessful because they failed           The FDA is thus better understood as having extended, not
to “demonstrat[e] the benefit of ” their dessert-, candy-,         reversed, its previous guidance. See supra, at 34–35.
and fruit-flavored e-cigarette “products over an appropriate
comparator tobacco-flavored” e-cigarette product. App. to          Quite tellingly, respondents appear to have received the
Pet. for Cert. 167a. Admittedly, the FDA has not pointed           FDA's message on this front. Their applications are replete
us to any portion of its predecisional guidance that said          with statements attempting (albeit unsuccessfully) to draw
in so many words that manufacturers must draw that                 comparisons between dessert-, candy-, and fruit-flavored and
precise comparison. And, in fact, the 2019 guidance gave           tobacco-flavored products—the same sort of comparisons for
manufacturers some discretion in choosing appropriate              which the FDA allegedly provided no notice. See, e.g., App.
comparators as long as the “FDA [could] understand                 320 (“Another recent survey of more than 69,000 adult vapers
[an] applicant's rationale and justification for comparators       found that just 16% identified tobacco, menthol, or mint as
chosen.” App. 30. But the FDA's comparative-efficacy               flavors they used most often; the vast majority preferred fruit
standard was a natural consequence of its predecisional            and sweet flavors”); ibid. (“ ‘Fruity’ flavor was the number
guidance, which highlighted, among other things, (1) the           one flavor preference by 49.98% of all respondents. Only



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                          20
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                   Document 135           Filed 04/03/25           Page 22 of 27
--- S.Ct. ----

about 3% of all respondents stated that they preferred no          document, the FDA's central concern was the first category
flavor”); id., at 321 (noting that a third of surveyed smokers     because data suggested “youth are more likely to use certain
“stated that they started out using tobacco or menthol flavors     flavored, cartridge-based [e-cigarette] products.” Id., at 147.
but now always or almost always use other flavors”). All
that is to say, respondents’ applications are themselves strong    But nothing in the 2020 guidance suggested the FDA
evidence that regulated entities had adequate notice of the sort   would decline to take enforcement action against other
of comparative analysis the FDA anticipated.                       products that might be appealing to the young. In fact, the
                                                                   FDA's enumeration of the second and third enforcement
Furthermore, even assuming the predecisional guidance              priorities, which are not limited to flavored cartridge-based
did not perfectly predict the comparative-efficacy standard        products, supports the contrary conclusion. So when the
ultimately applied to applications, the FDA was not required       FDA ultimately denied authorization to respondents’ flavored
to issue such guidance in the first place. Respondents do          (though non-cartridge) products, it did not reverse course.
not argue that the TCA imposed an affirmative obligation on        Rather, it followed through on the 2020 guidance's warning
the FDA to spell out in detail how it expected applicants to       that the agency would also prioritize enforcement against
compare a new tobacco product to other tobacco products.           manufacturers “whose [products’] marketing is likely to
See Brief for Respondents 33. Rather, as we have explained,        promote use by ... minors.” Id., at 145. Indeed, the FDA's
the FDA had discretion to work out the meaning of the TCA's        marketing denial orders stated that respondents’ applications
comparative standard when evaluating premarket tobacco             were “insufficient to demonstrate that the[ir] products would
product applications. See 21 U.S.C. §§ 387j(b)(1)(A), (c)          provide an added benefit that is adequate to outweigh the risks
(4). A contrary rule would be in tension with Chenery II           to youth.” App. to Pet. for Cert. 168a. That is a consistent
’s teaching that, absent a statutory prohibition, agencies         application of the 2020 guidance's enforcement framework
may generally develop regulatory standards through either          or, at the very least, an application that did not “revers[e the
adjudication or rulemaking. 332 U. S., at 202–203.                 FDA's] former views as to the proper course.” State Farm,
                                                                   463 U. S., at 41.

                                                                   This case is unlike Fox Television, in which we held
                               3
                                                                   that an agency changed position by “expanding the scope
 [15] Finally, we turn to the issue of device type. In             of its enforcement activity.” 556 U. S., at 517. That
respondents’ view, the FDA's 2020 guidance saw a material          case concerned the Federal Communications Commission's
distinction between cartridge-based and other flavored             (FCC) enforcement of the federal indecency ban against
products, but when it came to ruling on applications, the FDA      the use of offensive words on broadcast television. Initially,
effectively imposed a flat ban on all flavored products. Brief     the FCC distinguished between literal and nonliteral uses
for Respondents 45–47.                                             of offensive words and determined that fleeting uses of
                                                                   nonliteral offensive words were not actionably indecent.
                                                                   See id., at 508. But then, in a subsequent adjudication, the
                                                                   FCC eliminated that safe harbor for nonliteral expletives
                               a
                                                                   and explained that even a single use of an offensive word
 *21 We cannot agree with respondents that the denial orders’      was actionably indecent. See ibid. We deemed that shift in
treatment of device type was “inconsistent” with any “earlier      enforcement policy “a change” for purposes of the change-in-
position.” Encino Motorcars, 579 U. S., at 224. The 2020           position doctrine. See id., at 517.
guidance explained how the FDA “intend[ed] to prioritize
[its] enforcement resources.” App. 129. Specifically, the          Here, in contrast, the FDA's 2020 guidance did not establish
agency planned to target three types of e-cigarette products:      “a safe harbor” for non-cartridge-based products. Id., at 518.
(1) “[f]lavored, cartridge-based” products; (2) “[a]ll other       True, the 2020 guidance unmistakably emphasized cartridge-
[e-cigarette] products for which the manufacturer has failed       based products, but it said nothing to suggest dessert-, candy-,
to take (or is failing to take) adequate measures to prevent       and fruit-flavored products for open-system e-cigarettes
minors’ access”; and (3) “[a]ny [e-cigarette] products targeted    would escape regulatory scrutiny. And further distinguishing
to, or whose marketing is likely to promote use by, minors.”       Fox Television, the FDA's actions here did not “br[eak] new
Id., at 145. Admittedly, on any reading of this guidance           ground.” Id., at 517. Indeed, there was no new ground to break



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           21
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                    Document 135            Filed 04/03/25           Page 23 of 27
--- S.Ct. ----

because respondents’ denial orders were part of the FDA's           demand shifted from cartridge-based products to disposable
first major exercise of its new authority over tobacco products     products. In respondents’ view, that evidence had nothing
under the TCA. In other words, the FDA could not “expan[d]          to do with products such as theirs that are intended for
the scope of ” previously nonexistent “enforcement activity.”       open-system e-cigarette products. See Brief for Respondents
Ibid.                                                               45–46. And respondents cite evidence from a study finding
                                                                    that between 2020 and 2021 high-school-student demand for
Even if the FDA had changed its position, it offered “good          devices compatible with flavored bottled e-liquids actually
reasons” for looking beyond cartridge-based e-cigarette             decreased. See id., at 46, and n. 32 (citing E. Park-Lee et
products, id., at 515, namely, that there was evidence from         al., Centers for Disease Control and Prevention, Notes From
national surveillance data that youth demand had moved from         the Field: E-Cigarette Use Among Middle and High School
flavored cartridge-based products to flavored disposable            Students—National Youth Tobacco Survey, United States,
products, App. to Pet. for Cert. 191a–192a. From this, the          2021, 70 Morbidity and Mortality Weekly Rep. 1387, 1387–
FDA drew the conclusion that “across these different device         1388 (2021)).
types, the role of flavor is consistent.” Id., at 191a. If one
type of flavored product were removed from the market, the          This counterargument is not persuasive. Even though
FDA concluded, youth would “migrate to another” type of             the FDA did not cite evidence that was specifically
flavored product. Id., at 192a. So the FDA decided to focus on      about increasing youth demand for open-system e-cigarette
the “role of flavors ... across tobacco product categories.” Id.,   products, the FDA drew a reasonable inference based on
at 191a. The FDA made this “conscious change of course”             the data before it: namely, that the rapid shift in youth
because it “believe[d] it to be better,” and the agency gave        demand from flavored cartridge-based products to flavored
“good reasons” for the change. Fox Television, 556 U. S., at        disposable products strongly suggested that youth were most
515.                                                                strongly drawn by flavor rather than device type. We see no
                                                                    reason why the FDA could not extrapolate from that data
 *22 [16] Respondents cannot claim that the FDA's revised           and conclude that young people would be drawn to flavored
enforcement priorities upset a “legitimate reliance” interest.      products for open-system e-cigarettes. Regardless, we are
Smiley v. Citibank (South Dakota), N. A., 517 U. S. 735, 742        not positioned in this arbitrary-and-capricious challenge to
(1996). At most, the 2020 guidance may have led respondents         consider respondents’ evidence from a study that postdates
to believe that the FDA was more likely to authorize their          the filing of their applications and is, in any event, outside “the
open-system products than other manufacturers’ cartridge-           administrative record already in existence.” Camp v. Pitts,
based products. But such a belief about how an agency is            411 U. S. 138, 142 (1973) (per curiam). Nor is respondents’
likely to exercise its enforcement discretion is not a “serious     evidence of sufficient heft to call into question whether the
reliance interes[t].” Fox Television, 556 U. S., at 515. Our        FDA's “factual determinations” about the powerful effect of
prior change-in-position cases have set a much higher bar,          flavor is supported by “substantial evidence” in the “existing
requiring, for example, “decades of industry reliance on [an        administrative record.” Biestek v. Berryhill, 587 U. S. 97, 102
agency's] prior policy.” Encino Motorcars, 579 U. S., at 222.       (2019).
Here, in contrast, respondents could not have built up decades
of reliance because they were part of the very first wave of
marketing denials under the FDA's newly minted jurisdiction
                                                                                                    C
over tobacco products.
                                                                    That brings us to the FDA's guidance concerning marketing
We thus hold that the FDA's treatment of device type, even          plans. Recall that the FDA does not contest the Fifth Circuit's
if it evolved over time, did not violate the change-in-position     finding that it changed position regarding the submission of
doctrine.                                                           marketing plans, but it argues that this error was harmless.
                                                                    This question presents a difficult problem. It requires us to
                                                                    reconcile the so-called remand rule developed in SEC v.
                               b                                    Chenery Corp., 318 U. S. 80, 88, 93–95 (1943) (Chenery
                                                                    I), and Chenery II, 332 U. S., at 196–197, with the APA's
Respondents take issue with the FDA's explanation that it           instruction that reviewing courts must take “ ‘due account’ ”
changed enforcement priorities based on evidence that youth         of “ ‘the rule of prejudicial error’ ” that “ordinarily appl[ies]



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                              22
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                   Document 135            Filed 04/03/25          Page 24 of 27
--- S.Ct. ----

in civil cases,” Shinseki v. Sanders, 556 U. S. 396, 406 (2009)
(quoting 5 U.S.C. § 706).
                                                                                                  2

                                                                    The FDA's failure to consider marketing plans and its
                               1                                    chosen arguments in litigation have set the remand rule
                                                                    and the APA's harmless-error principle in tension. Despite
 *23 [17] In Chenery I, the Court announced the now-                assuring manufacturers in predecisional guidance that their
bedrock principle that an agency action cannot stand “unless        marketing plans would be “critical,” the FDA refused to
the grounds upon which the agency acted in exercising its           consider respondents’ marketing plans when it reviewed their
powers were those upon which its action can be sustained.”          premarket tobacco product applications. 84 Fed. Reg. 50581.
318 U. S., at 95. There, we rejected the Securities and             Based on its experience, the FDA opined that marketing
Exchange Commission's belated request to affirm its action          and access restrictions on flavored e-cigarette products are,
on an alternative ground raised for the first time in litigation.   as a practical matter, categorically insufficient to sustain
Id., at 92–94. We reasoned that when Congress vests an              an otherwise inadequate application. See App. to Pet. for
agency with authority to make “a determination of policy            Cert. 200a, n. xix. The Fifth Circuit held that this about-
or judgment” and the agency fails to exercise that authority,       face was arbitrary and capricious, see 90 F. 4th, at 372–
“a judicial judgment cannot be made to do service for               373, and the FDA has “not sought review of the Fifth
an administrative judgment.” Id., at 88. Upholding agency           Circuit's threshold finding of error,” Brief for Petitioner 31.
action on an alternative ground not considered by the               Instead, it expands upon an argument it raised before the
agency, the Court reasoned, would “intrude upon the domain          Fifth Circuit, see En Banc Brief for Respondent in No.
which Congress ... exclusively entrusted to an administrative       21–60766, p. 29, and contends that its failure to consider
agency.” Ibid. We reaffirmed this principle in Chenery II,          marketing plans was harmless error because, subsequent to
see 332 U. S., at 196–197, and a necessary implication              denying respondents’ applications, it issued denial orders
of that principle is that the better course when an agency          to other manufacturers after reviewing marketing plans that
error is identified is for the reviewing court, “except in          were materially indistinguishable from respondents’. See
rare circumstances,” “to remand to the agency for additional        Brief for Petitioner 34–36. That is proof, the FDA says, that
investigation or explanation,” Florida Power & Light Co.            reviewing respondents’ marketing plans would not have made
v. Lorion, 470 U. S. 729, 744 (1985). That implication of           a difference.
Chenery is colloquially referred to as the “remand rule.” See
INS v. Orlando Ventura, 537 U. S. 12, 18 (2002) (per curiam)        The Fifth Circuit rejected the FDA's harmless-error argument
(internal quotation marks omitted).                                 based on our most recent decision invoking the remand rule,
                                                                    Calcutt v. FDIC, 598 U. S. 623 (2023) (per curiam). See 90
 [18] Three years after Chenery I was handed down, Congress         F. 4th, at 389–390. In Calcutt, after reciting the remand rule
enacted the APA. Ch. 324, 60 Stat. 237. At that time, Rule 61       in strong terms, we acknowledged that a “remand may be
of the Federal Rules of Civil Procedure instructed courts not       unwarranted ... [w]here the agency ‘was required’ to take a
to disturb a judgment or order unless refusal to do so would        particular action.” 598 U. S., at 630 (quoting Morgan Stanley
be “inconsistent with substantial justice.” Fed. Rule Civ. Proc.    Capital Group Inc. v. Public Util. Dist. No. 1 of Snohomish
61 (1939). The APA picked up on this principle and required         Cty., 554 U. S. 527, 544 (2008)). The Fifth Circuit interpreted
courts reviewing agency action to take “due account ... of          Calcutt’s discussion to mean that there is only one exception
the rule of prejudicial error.” § 706. Taking “due account”         to the remand rule. See 90 F. 4th, at 390 (“APA errors are only
of a rule is not literally the same as applying that rule lock,     harmless where the agency would be required to take the same
stock, and barrel. The most natural interpretation of the APA's     action no matter what. In all other cases, an agency cannot
language is thus that reviewing courts should adapt the “rule       avoid remand”). That is certainly a plausible interpretation of
of prejudicial error” applicable in ordinary civil litigation       Calcutt, but it would imply a need to remand for all but the
(also known as the harmless-error rule) to the administrative-      narrowest category of agency errors, minimizing the role of
law context, which, of course, includes the remand rule.            harmless-error review.

                                                                     *24 The FDA disagrees with this broad reading of Calcutt
                                                                    and cites, among other authorities, our decision in Sanders. In



                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           23
             Case 1:25-cv-01144-JAV
Food and Drug Administration, 604 U.S. ---- (2025)
                                                   Document 135            Filed 04/03/25          Page 25 of 27
--- S.Ct. ----

that case, we opined that the APA incorporates “the same kind      should generally reverse and remand even though it discerns
of ‘harmless-error’ rule that courts ordinarily apply in civil     a possibility, even a strong one, that by another course of
cases.” 556 U. S., at 406. That principle, taken to its logical    reasoning the agency might come to the same result,” Friendly
extreme, could permit a reviewing court to sustain a flawed        222 (emphasis added). There is an important distinction, if
agency decision whenever it finds that the agency would have       only a subtle one, between this formulation and the FDA's
reached the same result absent the initial error. Understood in    argument that a party attacking an agency decision must prove
that way, harmless error might swallow the remand rule.            that an error had a “substantial bearing” on the decision. Brief
                                                                   for Petitioner 36–37. And the FDA has not identified any
There is thus obviously tension between Calcutt and Sanders,       prior case in which we have held that the application of an
and neither decision sought to harmonize the remand and            erroneous understanding of the governing law was harmless
harmless-error rules. Calcutt made no reference to the APA's       because a subsequent agency decision shows that the agency
prejudicial-error provision, and Sanders did not discuss the       would have reached the same result if it had applied the
remand rule or even cite Chenery.                                  correct understanding of the law.

Commentators have long puzzled over this tension and                *25 [20] The FDA has not asked us to decide the harmless-
proposed ways to bridge the divide. See H. Friendly,               error question at this juncture. True, in its petition for
Chenery Revisited: Reflections on Reversal and Remand              certiorari, it requested that we “review and reverse the
of Administrative Orders, 1969 Duke L. J. 199, 222–225             Fifth Circuit's holding that the error was not harmless.” Pet.
(Friendly); N. Bagley, Remedial Restraint in Administrative        for Cert. 18 (emphasis added). But the FDA unmistakably
Law, 117 Colum. L. Rev. 253, 302–307 (2017) (Bagley);              abandoned that full-throated request after we granted
C. Walker, Against Remedial Restraint in Administrative            certiorari. In its opening brief, the FDA asked that we “only
Law, 117 Colum. L. Rev. Online 106, 115–120 (2017). And            identify the correct harmless-error rule and remand the case,
the courts of appeals have apparently developed their own          allowing the Fifth Circuit to determine whether respondents
practices to reconcile the remand and harmless-error rules.        have met their burden of showing prejudice.” Brief for
See Bagley 302, n. 328 (citing cases). We will not attempt to      Petitioner 38. It reiterated that position in its reply. See Reply
provide a complete answer to this vexing problem here.             Brief 18. And at argument, when asked, the FDA was upfront
                                                                   that it seeks vacatur and remand so the Fifth Circuit can decide
 [19] For now, we agree with the FDA that the Fifth Circuit        the question afresh without relying on its overly expansive
read Calcutt too broadly. It has long been accepted, for           reading of Calcutt. Tr. of Oral Arg. 55–56. We follow that
example, that a remand may not be necessary when an                course.
agency's decision is supported by a plethora of factual
findings, only one of which is unsound. When it is clear that                                   ***
the agency's error “had no bearing on the procedure used
or the substance of [the] decision reached,” a remand would        For these reasons, we vacate the judgment of the United States
be pointless. Massachusetts Trustees of Eastern Gas & Fuel         Court of Appeals for the Fifth Circuit and remand the case for
Associates v. United States, 377 U. S. 235, 248 (1964); see        further proceedings consistent with this opinion.
Friendly 210–211 (“Massachusetts Trustees v. United States
... might be regarded as a true indentation of Chenery, [but]      It is so ordered.
                                   9
it is an altogether sound one”). We do not suggest that
this exception and the one recognized in Calcutt exhaust the
                                                                   Justice SOTOMAYOR, concurring.
universe of exceptions to the remand rule. But the existence
                                                                   I join the Court's opinion, as it rightly rejects the contention
of this exception is sufficient to show that the Fifth Circuit's
                                                                   that the FDA acted arbitrarily and capriciously in denying
reading of Calcutt went too far.
                                                                   respondents’ applications for premarket approval of their
                                                                   tobacco products. I write separately, however, to clarify one
That said, the FDA's reading of Sanders may also be
                                                                   point.
excessive. In an article that the FDA quotes with approval, see
Brief for Petitioner 41, Judge Friendly accurately captured the
                                                                   I do not believe the FDA, in the lead up to denying
core of the remand rule when he wrote, “[w]here the agency
                                                                   respondents’ applications, “was feeling its way toward a final
has rested decision on an unsustainable reason, the court
                                                                   stance and was unable or unwilling to say in clear and specific


                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                           24
             Case 1:25-cv-01144-JAV              Document 135
Food and Drug Administration, 604 U.S. ---- (2025)
                                                                       Filed 04/03/25          Page 26 of 27
--- S.Ct. ----

                                                                products pose to youth, it should have come as no surprise that
terms precisely what applicants would have to provide.” Ante,
                                                                applicants would need to submit rigorous scientific evidence
at 10. Instead, the record shows the agency reasonably gave
                                                                showing that the benefits of their products would outweigh
manufacturers some flexibility as to the forms of evidence
                                                                those risks. See § 387j(c)(4).
that would suffice for premarket approval of their products,
while hewing to (and never suggesting it would stray from)
its statutory duty to approve only those products that would    All Citations
be “appropriate for the protection of the public health.” 21
U.S.C. § 387j(c)(2)(A). In light of the statutory text and      604 U.S. ----, --- S.Ct. ----, 2025 WL 978101
the well-documented and serious risks flavored e-cigarette




                                                        Footnotes


*        The syllabus constitutes no part of the opinion of the Court but has been prepared by the Reporter of Decisions
         for the convenience of the reader. See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.

1        The TCA establishes a handful of other authorization pathways for new tobacco products. For example,
         manufacturers may ask the FDA to make a determination that a new tobacco product is substantially
         equivalent to a product commercially marketed as of February 15, 2007. See 21 U.S.C. §§ 387j(a)(2)–(3). And
         a showing of substantial equivalence may be unnecessary for new tobacco products that make only minor
         modifications to products commercially marketed as of February 15, 2007. See § 387e(j)(3)(A). Moreover,
         manufacturers may seek authorization for “modified risk tobacco products,” that is, products used “to reduce
         harm or the risk of tobacco-related disease associated with commercially marketed tobacco products.” §§
         387k(b)(1), (g)(1).

2        The Fifth Circuit suggested that the FDA's 2020 guidance does not apply here because respondents
         manufacture “bottles of flavored nicotine liquids,” not e-cigarette products themselves. 90 F. 4th 357, 369
         (2024) (en banc). But the 2020 guidance concerned the FDA's enforcement priorities with respect to
         “[e]lectronic nicotine delivery systems” or “ENDS,” and, as the guidance document explains, “[e]-liquids are
         a type of ENDS product.” App. 143 (emphasis deleted).

3        Respondents’ amici offer numerous alternative grounds for affirmance. Three of these arguments are based
         on the Constitution: (1) that the TCA unconstitutionally delegated lawmaking power to the FDA with respect
         to, among other things, the necessary contents of a premarket tobacco product application, see Brief
         for Taxpayers Protection Alliance as Amicus Curiae 7–8; (2) that the relevant provisions of the TCA are
         unconstitutionally vague, see id., at 6–8; and (3) that respondents were denied due process, see Brief for
         Washington Legal Foundation as Amicus Curiae 8–11; Brief for Thirteen Members of Congress et al. as
         Amici Curiae 13–16. Some amici also argue that the FDA violated our “major questions” doctrine. See, e.g.,
         Brief for Vaping Industry Stakeholders as Amici Curiae 30–34; Brief for Thirteen Members of Congress et
         al. as Amici Curiae 6–13.

         Although these issues have a bearing on what appears to have been the Court of Appeals’ animating concern
         —i.e., that the FDA did not give respondents and other applicants fair and accurate notice regarding what it
         would insist that an application contain—these arguments fall outside the scope of the question presented,
         were not passed on below, and were not pressed in respondents’ brief. We therefore decline to reach them.
         See, e.g., Atlantic Marine Constr. Co. v. United States Dist. Court for Western Dist. of Tex., 571 U. S. 49, 61
         (2013). And our opinion should not be read to suggest any view on their merits.




                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                       25
             Case 1:25-cv-01144-JAV              Document 135
Food and Drug Administration, 604 U.S. ---- (2025)
                                                                         Filed 04/03/25          Page 27 of 27
--- S.Ct. ----

4        At one point, however, respondents seem to suggest that the FDA violated their due-process rights simply
         because it failed to provide clear notice before it denied their applications and thus effectively put them out of
         business. See Brief for Respondents 44. But the freestanding due-process question to which the respondents
         fleetingly refer lies outside the question on which we granted review and is not well developed in their brief.
         We therefore decline to decide it. See Anza v. Ideal Steel Supply Corp., 547 U. S. 451, 461 (2006).

5        The parties assume that the change-in-position doctrine applies when an agency abandons a position it first
         articulated in a nonbinding guidance document. We have traditionally applied the change-in-position doctrine
         when an agency shifts from a position expressed in a more formal setting. See, e.g., FCC v. Fox Television
         Stations, Inc., 556 U. S. 502, 517 (2009). True, we have on at least one occasion applied the doctrine when an
         agency altered a position first stated in a policy statement. See Department of Homeland Security v. Regents
         of Univ. of Cal., 591 U. S. 1, 30 (2020). But as we explained in that case, the policy statement instituted “a
         standardized review process” that “effectively” resembled adjudication. Id., at 18. Given neither party has
         pressed this argument here, we assume, without deciding, that the change-in-position doctrine applies to an
         agency's divergence from a position articulated in nonbinding guidance documents.

6        It is true that the FDA's accompanying slideshow represented that “[n]o specific studies” would be required for
         a premarket tobacco product application. 2018 Presentation 26. But in light of what the TCA itself demanded
         (i.e., “well-controlled investigations” or other “sufficient” “scientific evidence”) and the FDA official's numerous
         examples throughout the presentation, the obvious import of the “[n]o specific studies” statement was that
         many different types of studies could potentially suffice.

7        In a related argument, respondents argue that the FDA “repeatedly represented that it did not expect long-
         term clinical studies” in predecisional guidance but later required such studies. Brief for Respondents 41.
         But a “long-term study” and evidence “over time” are not the same thing. As the 2019 guidance explained,
         the FDA describes “long-term studies” as “those studies that are conducted over six months or longer.” App.
         29. Nothing in the denial orders suggested that the FDA imposed a rigid requirement that evidence come
         from such studies. And the 2019 guidance also underscored the FDA's expectation that applicants present
         evidence about the “possible long-term health impact” of their new tobacco products. Ibid.

8        An initial draft of the 2020 guidance exempted from enforcement priority mint-flavored products, treating them
         similarly to tobacco- and menthol-flavored products. But in the revised 2020 guidance that we discuss here,
         the FDA no longer exempted mint-flavored products based on new evidence that youth are also drawn to
         mint flavors. See App. 162–164.

9        Despite its holding that Calcutt is the sole exception to the remand rule, the Court of Appeals appears to
         have issued a brief alternative holding at the very end of its opinion. In that short discussion, the court cited
         Circuit precedent echoing the rule of Massachusetts Trustees. See 90 F. 4th, at 390 (citing United States v.
         Johnson, 632 F. 3d 912, 930 (CA5 2011)). But the Court of Appeals applied Massachusetts Trustees at a high
         level of generality, and absent any analysis applying Massachusetts Trustees to the FDA's failure to consider
         respondents’ marketing plans specifically, we are unable to affirm the decision on that alternative basis.



 End of Document                                             © 2025 Thomson Reuters. No claim to original U.S. Government Works.




                 © 2025 Thomson Reuters. No claim to original U.S. Government Works.                                        26
